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                Exhibit B
 Case 2:23-cv-10513-LJM-KGA ECF No. 46-3, PageID.1985 Filed 09/13/24 Page 2 of 51




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                                       11/2/2023 2 : 52 PM       FROM : Fa>< Sal<>m M<>dical PC        TO : 12483573337                    PAGE : 053 OF 057
           Case
REIFF, DANIEL    2:23-cv-10513-LJM-KGA
              DOB:                          ECF No. 46-3, PageID.1986 Filed 09/13/24 Page 3 of 51
                              :3s yo M) Ace No. 138861Doc Name: 11/02/2023 RDS MRR w/ Invoice and sighi.'lture


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REIFF, DANIEL DOB :                                     {35 yo M) Ace No. 138861Doc Name: 11/02/2023 RDS MRR w/ invoice and signature
                                                                      Page 52 of 56
                       11/2/2023 2 : 52 PM   FROM : Fa>< Sal<>m M<>dical PC   TO : 12483573337   PAGE : 003 OF 057
            Case
REIFF, DANIEL DOB:2:23-cv-10513-LJM-KGA     ECF No. 46-3, PageID.1987 Filed 09/13/24 Page 4 of 51
                              (35 yo M) Ace No. 13886



   REIFF, DANIEL, M,                                                                              28111 Hoover Rd . Suite 5A, Warren , Ml-480934153,
                                                                                                                                  ~ 586-57&-9606

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REIFF, DANIEL DOB:                (35 yo M) Ace No. 13886
                                                Page 2 of 56                                                                           001
                                    11/2/2023 2 : 52 PM   FROM : Fa>< Sal<>m M<>dical PC        TO : 12483573337   PAGE : 004 OF 057
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REIFF, DANIEL DOB:               '.35 yo M) Ace No. 13886
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                REIFF, DANIEL DOB:                                         (35 yo M) Ace No. 13886 DOS: eS/16/2023




                                                             ~~~~~}~~~~~ 1-:._) ~ ~~t~t~~~t~·t~~·~~t$~ ~
                                                            1.   4 monlh f/u ' '
         'l'1tki.ug                                          2 . Refill for lisinopril (states been out of Rx for couple days)
         • Lisinopril :!O MG Tablet 1 tablet Orally
         twice                                              ~~~~~t.t~fY -t~f ~~:r~~~~~t i ~§~~$~~-:~
         • Famot idine 40 MG Tablet 1 tablet as
          needed Orally Ollce a day                         Constitutional:
         • Pant oprazole Sodium 40 MG Tablet                   Denies : Dizziness.
          Dt:layed Release 1 tablet Orally Once a day             Denies : Fe-ver.
         • Sucralfate 1 Gl\f Tablet 1 tabl~ton an                 Denies : SOB.
         empty b-fo maclt Orally Twice a day
         • Metlrncloni, HCI 10 MC: Til blet 1J~                   Denies: che!>t puin.
         directed ()rally O11,\E' a.day. Notes t o                Denies : vomiting.
         Pharmacist : pt Ill king 125 mg                          De nies: Abdominal P:1in.
         • Ond,msetnm HCI 4 MG Tablet 1 tablet                    Denies: Frequent Urination.
         as needed Orally Once a day
         • Senna-Docusate Sodium 8.6-50 MG                        Denies : Ankle or Leg Swelling.
         Tab let 2 tablet in the evening as- needed               Denies : cough.
         Orally Once ;i day                                       Denies : dianhea.
         • bvd.t0.Xl'2ine HCI 10 MG Tablet 1                      Denies : constipation.
         tab let Orally Ollce a day
         • cloNCDine HCI o .-. MG T11blet1 tAhlet                 Denies : fe ver.
         Orally t:1,i<:e a d11y                                   Denies: My,llgia.
         • SEROquel 25 MG Tablet 1 l;lblel at                     Denies : HA.
         bedtime O1·ally Once a day
         • .Mirtazal)ine 15 M.G Tablett lilblc:t a t
         bed time Orally Once a day
         • Ergocalciferol 50000 UNITCapsule 1               HR: 88 /min, BP: "i.l-~/1{ );:_~ mm Hg, Wt: 209 lbs, BMI: ~9-99 Index, Ht-cm:
         capsule Orally ONCE/WK                             177.8 cm, Oxygen sat: 100 %, Ht: 5'10", \·Vt-kg: 94.8 kg.
         • Furosemide 20 MG Tablet 1 tablet
         Orally Once a day
         Not-Taking                                         General Examination:
         • Alnil!{kil!i11 875 MG Tablet! tahfot
         Orally Twice a clay                                   GENERALAJ' PEARANCE: in no acute dist ress, well develoJied, well
         • Gabapr.ntin 400 J\,.CG Capsule 1. capsule        nourished.
         Orally Onc.e a day                                    HEAD: normocephalic, atraumatic,
         Medication List r eviewed and reconciled              EYES: pupils equal, round, reactive to Jjght and accommodation.
         with t he patient
                                                               EARS: normal.
                                                               ORALCAVI1Y: mucosa moist.
         i~~ st ~1~~~1 s~~{:1$ f{S~t~~~"'~r                    THROAT: clear.
           Hyperten~ion.                                       NECK/THYROID: neck supple, full range of motion, no c:ervical
           A1n:iely.
           DeJ)f<?SSio".                                    lymphadenopa.thy.
            Bipoli1r dis,J1-dt r.                              SKIN: no suspic:ions Jesfons, warm and dry.
            Legally blinf.                                     HEART: no murmurs, regular rate and rhythm, S1, S2 normal.
            Kidney r,l'oblel'll&,                              LUN(":.S: dear to auscultation bilate:raJly.
         1J~~~- ~~~\: ~~ ~~~:i1~~~y                            ABDOMEN: normal, bowel sounds present, soft, nontender,
            ocular 1·emoval 4-2-2021                        nondistended .
            reconstructive s urgery (skull) 6/-i.021           EXTREMITIES: no clubbing, cyanosis, or edema .




REIFF, DANIEL DOB:                             (35 yo M) Ace No. 13886
                                                             Page 3 of 56                                                              002
                                               11/2/2023 2 : 52 PM       FROM : Fa>< Sal<>m M<>d ical PC   TO : 1248 3573337   PAGE : 005 OF 057
            Case
REIFF, DANIEL DOB:2:23-cv-10513-LJM-KGA        ECF
                                 (35 yo M) Ace No.   No. 46-3, PageID.1989
                                                   13886                                                                          Filed 09/13/24 Page 6 of 51
This Progress Notes documentation is IN PROGRESS



                    REIF F, DANIEL DOB:                                                 (35 yo M) Ace No. 13886 DOS: 08/16/2023

                                                                                NEUROLOGIC: non focal, motor strength normal upper and lower
         Father: a live, heart disease and anxiety,                         e:1rtremities, sensory exam intact.
         diagnosed i,,i th Hyperten~ion
         Mother: alive, diagnosed wit h
         Hypertension                                                      1, Accelerated essential hype1tension • ho (Primary)
         2 sistc>r(s} • healthy. 2 son(s) • healthy.
                                                                           2. Snoring - Ro6.83
         ~~'.~~ h'$ ~ ~~~~~t~H'J'                                          3. Elevat ed livet enzymes R74.8
         T9b~c,.e Ui<e:                                                    4. Abnormal EKG · R94.31
         Tobacco Use/Smo~:lng                                              5. BMI 29.0-29.9,adult - 268.29
           A 1't you a fo rmer smoke,·
                                                                           6. Non compliance with medical treatment·· Z91.199
           How long has it be-<m since you last
         smoked? < 1 mon-th                                                7. Encounter for medication refiJl - 276.0
                                                                           8. Liver cyst · K76.89
                                                                           9. Vitamin D deficiency - E55.9

                                                                           1. Acc.ckl'ated essential ltypcrtensiou
         t~ ~ .t~$.l ~1{~~..~ ~ i:. ~~ i~ ~ t~ $..~t~i{ K~ ~~!:            Refill Lisinopril Tablet, 20 MG, 1 tablet, Orally, twice, 90 days, 180, Refills o
         ?fo Hospitalizntlon Hi~-toi-y.                                    Refill hy<lrOXY:dne HCl Tablet, 25 .MG, 1 tablet, Orally, q 12 hrs, :W days,
                                                                           60, Refills 3
                                                                           Start Metoprolol Succinate Capsule ER 2 4 Hour Sprinkle, 25 MG, 1 capsule,
         the 14 points ROS were all negative else
         than what mentioned in HPI.                                       Orally, Once a day, 90 clays, 90 Capsule, Refills 1
                                                                               IMA.GING: Echocardiog1JWJ.
                                                                            2. Snoring
                                                                            Referral To;Mihai llies.iu Sleep Medicine
                                                                                   Re.ason:

                                                                            3. Abnormal EKG-
                                                                               IMAGING: Echocardi0gmm
                                                                           4. BMl 29,0•29.9,adult
                                                                           Notes: Counseled patient on (',0mmitment to dietary restriction, weight
                                                                           management, a nd inct-e11siug activity kvel. Patient was counseled 011
                                                                           increasing their exercise. Discussed moderate cxercfac including walking.
                                                                           Discussed the importance of diet and weight nrnnagement on their physical.
                                                                           mental, and emotional health. Healthy lifestyle discussed with p;;tient,
                                                                           including diet, vitamin supplement, exercise, non·smoking, safe sexual
                                                                           practices and reduction of stress. Assessment and plan reviewed with
                                                                           patient. Diet and exercise reviewed with patient

                                                                           5. Eu counter for medication refill
                                                                           Notes: Allmeds, refills given.
                                                                           6. Others
                                                                           Notes: Pt is here today for his 4 month f/ u.
                                                                           Patient's blood pressures is high today, will adjust medications, d/w pt and
                                                                           pt agreed, we reviewed all his meds and he takes the Lasix as needed. I will
                                                                           ruljust the dose of11.ttlb~-yz ine to 2smg and I :wm also add low
                                                                           dose Corcg~
                                                                           Pt di.d have his mother through face ti.me and she reported pt has been
                                                                           having more panic attacks due to his nnxiety, which is why I adjusted pts
                                                                           hydroxyzine
                                                                           All patient previous labs and diagno&1:ic imaging wen) reviewed by me in
                                                                           details, pt is still anemic ru1d all other bloodwork ran by Dr. Tayeb in 1\.IAY
                                                                           20 2:~ was stable.




REIFF, DANIEL DOB:                                                (35 yo M) Ace No. 13886
                                                                                Page 4 of 56                                                             003
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            Case
REIFF, DANIEL DOB:2:23-cv-10513-LJM-KGA        ECF
                                 (35 yo M) Ace No.   No. 46-3, PageID.1990
                                                   13886                                                      Filed 09/13/24 Page 7 of 51
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             REIF F, DANIEL DOB:                                  (35 yo M) Ace No. 13886 DOS: 08/16/2023

                                               No SOB Ol' chest pain, no lowe.r extremity swelli.ng, no abdominal pain when
                                               pressure is applied.
                                               I am also rechecking pts blood pressure in office.
                                               Jwifll also refer pt to sleep medicine for a sleep studY. and order
                                               pt a ECHO
                                               Before I change pts medications I will recheck p·ts bloodwork,
                                               gi:ring.~nL

                                               Clinical Notes: Patient's blood pressures is high today , will adjust
                                               medications, d/w pt and pt agreed Counseled patient on commitment to
                                               dietary restriction, weight management, and increasing activity level. Patient
                                               was counseled on increasing their exercise. Discussed moderate exercise
                                               including walking. Discussed the importance of diet and weight
                                               management on their physical, mental, and emotional health . all patie.nt
                                               pnwious labs and diagno&1ic imaging, were revfowed by me in details Time
                                               spelit with patient direct care on the day of visit i11cludiug oounsel.ing,
                                               education and care, including assessment, discussion and treatment,
                                               reviewing all recent Jabs and radiology and medic.'tl records personally, and
                                               coordinating care with staff was 50 mins
                                               This dictation was prepared using Dragon Medical voice recognition
                                               software. As a result, errors may occur. When identified, these
                                               trnnscriptional errors have been corrected. ,-v'hile every attempt is made to
                                               correct errors during dictation, errors may sti.U exist


                                               36415 VENIPUNCT, ROUTINE*
                                               G8427 DOC MEDS VERIFIED W/PT OR RE
                                                i~~~i~'\.).\.~· ~$}1"
                                               4m, ECHO, sleep ref, blood work script

                                               tr;·~·
                                               :.~~~~~




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                                               {_~~~{~;~~} 1~';"t~ '§~~ff




REIFF, DANIEL DOB:                (35 yo M) Ace No. 13886
                                                Page 5 of 56                                                                                             004
                         11/2/2023 2 : 52 PM   FROM : Fa>< Sal<>m M<>dical PC   TO : 12483573337                   PAGE : 007 OF 057
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REIFF, DANIEL DOB:                '.35 yo M) Ace No. 13886
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              REIF F, DANI EL DOB:                            (35 yo M) Ace No . 13886 DOS: 08/16/2023

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REIFF, DANIEL DOB:                  (35 yo M) Ace No. 13886
                                                  Page 6 of 56                                                                         005
                        11/2/2023 2 : 52 PM     FROM : Fa>< Sal<>m M<>dical PC   TO : 12483573337   PAGE : 008 OF 057
           Case
REIFF, DANIEL DOB2:23-cv-10513-LJM-KGA
                 :            (35 yo M) Ace ECF  No. 46-3,Name:Tobacco
                                            No. 13886IDoc  PageID.1992Control
                                                                        Filed2023-8-16
                                                                              09/13/2410:44
                                                                                        Page:7 9 of 51
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                                                                                       REIFF, DAMEL DOB:                :34 yo M) Ace No. 13886



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                            W,trra, M: 4809:W ~,3




REIFF, DANIEL DOB :                  {35 yo M) Ace No. 138861Doc Name: Tobacco Cont rol 2023-8-16 10 :44:7
                                                          Page 7 of 56                                                            006
                        11/2/2023 2 : 52 PM   FROM : Fa>< Sal<>m M<>dical PC   TO : 12483573337   PAGE : 009 OF 057
           Case
REIFF, DANIEL DOB2:23-cv-10513-LJM-KGA
                  :            (35 yo M) AceECF   No. 46-3, Name:Tobacco
                                             No. 13886IDoc  PageID.1993Control
                                                                         Filed2023-8-16
                                                                               09/13/24 10:44
                                                                                         Page :7 10 of 51
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                                                                                     REIFF, DAMEL DOB:                :34 yo M) Ace No. 13886




REIFF, DANIEL DOB :                 {35 yo M) Ace No. 138861Doc Name: Tobacco Cont rol 2023-8-16 10 :44:7
                                                  Page 8 of 56                                                                  007
                        11/2/2023 2 : 52 PM   FROM : Fa>< Sal<>m M<>dical PC   TO : 12483573337   PAGE : 010 OF 057
           Case
REIFF, DANIEL DOB2:23-cv-10513-LJM-KGA
                  :            (35 yo M) AceECF   No. 46-3, Name:Tobacco
                                             No. 13886IDoc  PageID.1994Control
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                                                                               09/13/24 10:44
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                                                                                     REIFF, DAMEL DOB:                (34 yo M) Ace No. 13886




REIFF, DANIEL DOB :                 {35 yo M) Ace No. 138861Doc Name: Tobacco Cont rol 2023-8-16 10 :44:7
                                                  Page 9 of 56                                                                  008
                                   11/2/2023 2 : 52 PM   FROM : Fa>< Sal<>m M<>dical PC       TO : 12483573337   PAGE : 011 OF 057
            Case
REIFF, DANIEL DOB:2:23-cv-10513-LJM-KGA
                                 (35 yo M) Ace ECF  No. 46-3, PageID.1995
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                REIFF, DANIEL DOB:                                       (35 yo M) Ace No. 13886 DOS: {14/03/2023




                                                           ~~~~~}~~~~~ 1-:._)~ ~~t~t~~~t~·t~~·~~t$~ ~
                                                           1. 3 month f/u ' '
        'l'1tki.ug
        • Famoticline 40 MG Tablet 1 tablet as             t~~~~t.~-:.~r~· ~f ~~r&~!.~~t~t ~~~~~ s.~l~:~
         needed Orally Once a day                          Constitutional:
        • Pantoprawle Sodium 40 MG Tablet
         Delayed Release 1 t.blet Orally Onct> a day           Denies : Dizziness.
        • Sucralfate I GM Tab kt 1 tablet on an                Denies : Fever.
        empty stomach Orally Tuice a day                        Denies : SOB.
        • Metha<lone HCI 10 MG Tablet as                        Denies : chest pain.
        directed Orally Once a day , Notes to
         Ph~NJl3dSt: pt l))l:,~~1~:.:, mg liquid form           Denies : Abdominal Pain.
        • Furoi;emide 20 MG Tablet J ll.lblffl                  Denies : Frequent Urination.
        Orally Onr.e a day                                      De nies: Ankle or Leg Swelling.
        • Li~inopril 20 MG Tablet 1 tablet Orally               Denies : cough.
         twice a day
        • Ondansetron HCI 4 MG T-.tblet 1 talJlet               Denies : diarrhea.
        as needed Orally Once a day                             Denies : constipa tion.
        • hvdrOXYzine Hd 10 ,1G Tablet 1                        Denies : fever.
         tab lel Orally Once a day
        • Ergoc11lciforol 50000 UNIT Cllpsule 1            ''Vlt.:~~ f§~il'SiS
         ca psule 0 1•ally ONCE/WK
        • cloNLDin e H'CI 0.1 MG Tablet 1 tahfot           HR: 64 /min, Bl' : 1..nti/;,.r:.<} mm Hg, Wt, :w6 lbs, BMI: :i9,5}5 Index, Ht-cm:
        Orallv twice ,, <lav                               177,8 cm, Oxygen sat: 97 %, Ht: 5'10", Wt-kg: 93-44 kg.
        • Mirtaz11pine ,:~ MG T,tlilet 1 tablet at
        hc:tltime Orally Once a day
        • SBROq uel 25 MG Tablet 1 tab let at              Genera) Exa mination;
        bedtime Orally Once a day
        •   Senna•Docusate Sodium 8.6-50 MG                     GENERALAPPEAR-\NCE: in no acute distress, well developed, well
        Tab let 2 tablet in the evening as- needetl        nourished.
        Orally Once a day                                       HEAD: normocephalic, atraumatic.
        Not-Taking                                            EYES: pupils equal, round, reactive to light and accommodation.
        • Alnil!{killi11 875 MG Tablet! tahfot
        Orally Twice a clay                                   EARS: Jtormal.
        • Gabapr.ntin 400 J\,.CG Capsule 1. capsule           ORALCAV11Y: mucosa moist.
        Orally Onc.e a day                                    THROAT: clear .
        Medication List reviewed and reconciled               NECK/THYROID: neck supple, full range of motion, no tervical
        with the patient
                                                           lymphadenopathy.
                                                              SKIN: no suspicious lesions, warm and dry.
         i~~ st ~1~~~1 s~~{:1$ f{S~t~~~"'~r                   HEART: no murmurs, regular rate and rhythm, S1, S2 normal.
            Hyperten~i<ln.                                    LUNGS: clear to auscultation bilaterally.
            Anxiety.
            DeJ)f<?SSio".
                                                              ABDOl\'fEN: normal, bowel sounds present, soft, non tender,
            Bipoli1r dis,Ja-dtr.                           nolldistende<l.
            Legally blinf.                                          EXIREMITIES: 110 clubbing, cyanosis, or edema.
            Kidney r,l'oblerns.                                     NEUROLOGIC: nonfo<:al, motor strength normal upper and lower
        1J~~~- ~~~\: ~~ ~~~:i1~~~y                         e:.>..1:remities, sensory exam intact.
            ocular a·emoval 4 -2-2021
            reconstructive surgery (skull) 6/-i.021




REIFF, DANIEL DOB:                             (35 yo M) Ace No. 13886
                                                             Page 10 of 56                                                               009
                                      11/2/2023 2 : 52 PM   FROM : Fa>< Sal<>m M<>d ical PC   TO : 1248 3573337   PAGE : 012 OF 057
            Case
REIFF, DANIEL DOB:2:23-cv-10513-LJM-KGA
                                 (35 yo M) Ace ECF  No. 46-3, PageID.1996
                                               No. 13886                                                            Filed 09/13/24 Page 13 of 51
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                   REIF F, DANIEL DOB:                                     (35 yo M) Ace No. 13886 DOS: 04/03/2023

                                                              1 . Cognitive dysfunction - Fo9 (Primary}
         Father: a live, heart disease and anxiety,           2. BMI 29.0--29.9,adult .. Z68.29
         diagnosed i,,i th Hyperten~ion                       3. Acquired absence of eye - Zgo .01, left
         Mother: alive, diagnosed wit h                       4. Polysubstance (including opioids) dependence with pbysiol dependence -
         Hypertension
         2 sistc>r(s} • healthy. 2 son(s) • healthy.
                                                               F19. 20
                                                              5. Tattoo of skin - L81.8
         ~~'.~~ h'$ ~ ~~~~~t~H'J'                             6..c\ccelcrated essential hypertension •·110
         T9b~c,.e Ui<e:                                       7. Anxiety - F41..9
         Tobacco Use/Smo~:lng                                 8. Leg swelling • M79.89
           A 1't vou a eurrenl smoker
           Ho"; often do you smoke cigarettes?                9. Non compliance with medical treatment .. Z91.199
         everyday                                             10. Elevated alkaline phosphatase level - R74.8
           Ho,1 many cigarettes a day do you
         smoke? 6 - 10
                                                              1, Cognitive dysfunction
         -~~~s.~~-~l~~.:'$_:
                                                              Stop LisinopriJ Tablet, 20 MG, 1 tablet, Orally, twice a day
         N.K.DA
                                                              Start Losartan J)ol.lssium Tablet, 100 MG, 1 lilblet, Orally, Once· a <lay, 90
                                                               days, 90 Tablet, Refills o
         tH;;~t~~~~~~$h:-: }~ t·t~i~.t~t~~~~-.·i~:
         No Hospitalization Hib1.ory.                         2. Others
                                                              Notes: Patient is here for follow-up also he needs a few refills.
                             ~:r ~,1st~$~~:$
         f~$.~~:-i~':~i-~- f..                                Patient stated he is going through some issues and he has been
        AH Other Sy~:                                         feeling very anxious as he is supposed to go to court to fight
               Review ot'Systems OWS)All                      agains t some prnb)em be had with tbe police in the past couple
         othe.rs negntive c.-xceptthose                       years and this resulted him in hav ing absence of his left eye ball.
         m e ntio11ed in HPL                                  . Patient first time m e ntioning this to me imd be neve1· b1·ought
                                                              this up neither him nor his family. And al<;o his mom at t.he
                                                              bedside requesting 1·eferral to 2 doctors one of them is a.
                                                              neuropsychiatric referral to chart check for any cognitive
                                                              dysfunction and also for a neurologist.

                                                               We will provide him with those referrals.

                                                              Patient continues to be uoucom11liant today be did not take his
                                                              lisinopi·ilas blood pressure is very higb be stated be is so ne rvous
                                                              he th.i nks this blood pressu1·e medkation lisinopril causing he1· to
                                                              be swollen. I did warn him against him stopping any medication
                                                              witl1out letting us know.
                                                              He continues to see a psych counseling and he continues to take
                                                              methadone and other medication that is pro'\-ided by the
                                                              addiction medicine.

                                                              Fo1· his high blood pn:ssure we l\'ill sto11 lisinopril and add
                                                              losai-tan and patient ,ms encouraged to check his blood pressure
                                                              on daily basis at home.
                                                              Also I did review his a previous of blood work that was done at a
                                                              di:ffea·ent facility.
                                                              Today wewiH get EKG to i.·ule out 1rny possible QT prolongation.
                                                              Pati.e ut was counseled extensively agains t any polysubstance
                                                              ab11se and not to take any medication does not prescribed and
                                                              was counseled extensively about using opioids.




REIFF, DANIEL DOB:                                   (35 yo M) Ace No. 13886
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                                 (35 yo M) Ace ECF  No. 46-3, PageID.1997
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             REIFF, DANIEL DOB:                                     (35 yo M) Ace No. 13886 DOS: 04/03/2023

                                                    Patient also WM counseled against any alco.hol ab11se 01·
                                                    dependence.

                                                    Patient's blood pressures is high today , will adjust medications, d/w pt and
                                                    pt agreed.
                                                    Counseled patient on commitment to dietary restriction, weight
                                                    management, and increasing activity level.
                                                    J>afa•nt was counseled on incl'easing thri.J· exercise. Discussed modemte
                                                    t~xercise including walking. Discussed the importance of diet and weight
                                                    management on their physica~ mental, and emotional health.
                                                    all patient previous labs and diagnostic imaging were reviewed by me in
                                                    details.
                                                    Patient was counseled extensively regru'<ling opioid use, its side effects, and
                                                    risk and benefits, and addiction potential. Patient understood. Patient was
                                                    also instructed that my office will be checking monthly MAPs report for his
                                                    pain medic.alfons use and patknt understands that they should not gel their
                                                    pain medications from different physicia n as they siglled tlic pain
                                                    agxeement.
                                                    Patient is noncompliant with medical management and follow-•up patient
                                                    understand the consequences when she does not follow medical advice is
                                                    include medication and doctors follow-up

                                                    Clinical Notes: Time spent with patient direct ca1-e on the day of visit
                                                    including counseling, education and care, indudi.11g assessment, discussion
                                                    and treatment, reviewing all recent labs ltlld rndiology and medical reeol'ds
                                                    personally, an<l coordinating care with 5taffwas 60 mins


                                                    96160 PT-FOCUSED HLTH RISKASSMT
                                                    G8427 DOC MEDS VERIFIED W/PT OR RE
                                                    G8417 BMI >:=30 CALCUATE W/FOLLOWUP
                                                    93000 - ELECTROCARDIOGRAM, COMPLETE
                                                    }tt)~i {~~~... u ~~
                                                    4 Months, 2. referals




                                                    J:'.~l:·~:~l-~~;1h:·-~l~s· ~r~.~Sl-t--:d h;r F.-~ ~'itI·I ~ i Rl.J~ }"{,:l ~ l\t~rs . ~Ht 1~~/f~~~/;:,,t.•O 'l~'i :.:~ t
                                                    ~..>:t~:)<~ ~f;\-~ i,:,fff




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                                 (35 yo M) Ace ECF  No. 46-3, PageID.1998
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                                                                                    ~~-H.~ ~ ~ ~·-~·,~~}"i..;;'~~ ~ ).~ ..
                                                                                             S ·t~i ;.,: t~!~
                                                                               i r ~~ i~·~·t: -~ -. .~t~ :~~.::-9-~~4.:$~!; :%
                                                                                   ·r ~J ~
                                                                                         - (}~f,.•~;:r-N •.,}$_l'o}'.~
                                                                                   F~~ ~.:: ~;~6•,:~?·.N. ~ ~} f.) {}f.!.




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                                                                  ~~~~~}~~~~~ 1-:._)~ ~~t~t~~~t~·t~~-~~t$~ ~
                                                                  1. 4 monlh f/u ' '
         'l'1tki.ug
         • Methadone HCllo MGTabletas                             t~~~~t.~-:.~r~· ~f ~~r&~!.~~t~t ~~~~~ s.~l~:~
         directed Orally Once a day . Note.s to                   DeP.ression Screening:
         Phaimacist: pt takes 135 mg liquid form
         • Ondausetro ll HCI 4 MG Tablet t talJlet                     PHQ-2 (2015 Edition)
         Orally Once a day                                                Little interest or pleasure in doing t hings? Not at all
         • Senna-Docusate Sodium 8.6-50 MG                                Feeling down, depressed, or hopeless? Not at all
         Tablet :i tablet in the evening a:; ne~ded                      Total Score o
         Orally Once a day
         •   S F.ROl(llel 2i\ MG Tuhlel 1 t,iblel at              c..onstitutiom1l:
         bedtime ()rally 011,\E' a day                                 Denies: Dizziness.
         •   Ergocalciferol 500 00 \J NJT Capsule 1                    Denies: Fever.
         capsule Orally ONCE/ WK                                       Denies: SOB.
         • h\ldrOXYzine HC! 10 MG Tablet 1
         tabl; t Orally Once a day                                     Denies : chest pain.
         • cloNIDine HCl 0 .1 MG Tablet 1 tablet                       Denies : Abdominal Pain.
         Orally twice a day , "lotes to Pha rmaeist,                   Denies: Frequent Urination.
         de coreg                                                      Denies : Ankle or Leg Swelling.
         • .Mirtazapine 15 l\lG Tablet 1 l.llblet at
         bedtime Orn.th· Onc.e " rlav                                  Denies: cough.
         • Furost:mlde 20 MG Tablet 1 tnhlt':1                         Denies : dia1·1·.hea.
         Orallv Once a dav                                             Denies : constipation.
         • Lisinopril 20 }.1G Tablet 1 tab.let Orally                  De nies : fever.
         twi,~e a diw
         Not-Taking                                               ~i§t~'S{ $~f~S~&
         • Amoxicillin Sn; MG Tablet 1 tablet
         Orally Twice a day                                       HR: 66 /min, BP: 145/.HH mm Hg, Wt: 198 Jbs, BMI: ~t§.,f, Index, Ht-cm:
         • Gaba pelltin 400 MG Capsule 1 capsule                  177.8 cm, Oxygen sat: 96 %, Ht: 5'1ott, Wt-kg: 89.81 kg.
         Orally ◊hce a day
         :Medication List rnviewecl and reconciled
         with tbe patit't, t
                                                                  G,meraI &a rnination:
                                                                       GENERAL APPEARANCE: in nu acute distress, well developed, well
         ~\~~ l~·t ~1~':-t~ ~$.:~i<.i ii~t~~ftf y                 nourished.
             Hniertensfon .                                            HEAD: normocephalic, atraumatic.
             Anxiety.
             Depression.                                               EYES: pupils ec1ual, round, reactive to light and accommodation.
             Bipola1· disorder.                                        EARS: normal.
             Legally blinf.                                            ORAL CAVITI': mucosa moist.
             Kidney problems.                                          THROAT: clear.
         ~~l~ ~-~§t~t~~ ~ }1§~~~{~~--~;{                               N'ECK/ THYROID: neck supple., full range of motion, no C'.{'rvical
             ocu.kn: rmnoval 4 -2-2021                            1~1111phudenopa:thy.
             reconstructi ve surgery (skull) 6/2021                    SKIN: no suspicious lesions, warm and dry.
                                                                       HEART: no murmurs, regular rate an.d rltythm, S1, S2 normal.
         f~$~~'S~§·~f ~~~Stt~r-,•                                      LUNGS: cle.ar to auscultation bilaterally.
         Father: alive, heart disease and anxiety,                     ABDOMEN: normal, bowel sounds present, soft, nontender,
         diagnosed with Hypertension
                                                                  nondistended.




REIFF, DANIEL DOB:                                  (35 yo M) Ace No. 13886
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                                 (35 yo M) Ace ECF  No. 46-3, PageID.2000
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                REIFF, DANIEL DOB:                                         (35 yo M) Ace No. 13886 DOS: 01/03/2023

         Mother: alive, dia~oscd with                             EXIBEMITIES: no dubbing, cyanosis, or edema.
         Hype11ension                                             l'i'EUROLOGIC: nonfocal, motor strength normal upper and lower
         2 sister(s) - healthy. 2 son(s) - healtl,y.
                                                              extremitie6, sensory exam intact.

         Tobarc.o Use,
         Tobiieeo Use/S1noking                                1. Accelerated essential hype1tension - ho (Primary)
           Are yo u a t·urrent smoker                         2. BMI 28.0 -28.9,adult - Z68.28
           How oftt:n do yoll sm o'ke cigul'ettes?            3. Depressio11screeni.11g • Z1,1.31
         cw,yday
           How many cigarettes a day do you                   4. Alcohol screening·· Z1:i-:~9
         smoke? 6 -10                                         5.Anxiety •• F41.9
        .J2r.ugs/Alcohql:                                     6. Alcohol depe.ndence in remission - F10.21
         Ale.oho! Sc.1·een (Audit-CJ                          7. History of hepatitis C - 286.19, s/ p treatment
           Did you have a drink containing alcohol
         ln t he past year? No                                8. Dental infection · Ko4.7
           Points o
           JnterprctaJion .Vegatiw
                                                              1. Acc-dc..-ated essential ltypcrtensiou
                                                              Notes; P~tient stutes blood pressure is high becuuse he is in pttin from his
                                                              dentures as he lrns problem with liis gown and dentures trying to get to h,we
                                                              his dentist and his appointment not until few more weeks
         K~h~i~~~"'$~~t~t~ t"r{'$e~~$-.~~·~
                                                              2. Alcohol dependence in remission
         No Hos pimlization History.
                                                              Notes: Patient stated he is not drinking anymore and he is fully aware of all
         ~.~~~~· t~~~~~ ,?f s1~t~~r~~-s                       the side effect and adverse effect of alcohol on his body
         All Other sy~:
           Review ofSystems (ROS) All                         3. Histot·y of hepatitis C
        otlaers negative. except those                        Noti;:s; ,vas .seen by GI recently and wa.s told bis hep c wall
        mentioned in HPl.                                     eradicated with treatment and i re,•icwcd all blood work, liver
                                                              enzymes all back to nom1al

                                                               4. Dental infection
                                                               RefillAmoxicillin Tablet, 875 MG, 1 tablet, Orally, Twice a day, 7 days, 14
                                                               Tablet, Refills o
                                                               Notes: We wi.11 slart the patie nt on (llltibiotics till seen by his dentist

                                                              5. Otl1ers
                                                              Notes: Patient's blood pressures al'e mildly elevaLed. RE',tommend to
                                                              continue with same medication(s) at the pl'esent time, but will monitor
                                                              closely and if persistently elevated I will furthel' increase t he medication(s).
                                                              patient was counseled on dealing with stress, Patient denies suicidal ideation
                                                              and if anxiety start in tertering with daily life activities, will need to refer to
                                                              psych or start meds.
                                                              C-ounseled patient on commitment to dietaty restriclion, weight
                                                              tMnagemt'nt, and increasing activity level.
                                                              Patie.nt was counseled on increasing their exercise. Discussed moderate
                                                              exercise including walking, Discussed the importance of diet and weight
                                                              management on their physica~ mental, and emotional health.
                                                              all patient previous labs and diagnostic imaging were reviewed by me in
                                                              details
                                                              Patirnt was counseled extensively regarding all the opioid adverse reaction
                                                              that he is taking and addiction patient continued to receive methadone from
                                                              methadone clinic

                                                               Clinical Notes: Time spent with patient direct care on the day of visit
                                                               including counseling, education and care, including assessment, discussion




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                                               and treatment, reviewing !-Ill recent labs !-llHl radiology and medical records
                                               personally, and coordinating care with staff was 50 mins


                                               Go444 ANNUAL DEPRESSION SCREENING 15 MIN
                                               99408 Alcohol aud Substancc .-'\buse screening
                                               f~~~~Wt-~ iJ§.~
                                               3 .'Months




                                                tJ~~~,,tr{>i~t.~~~l~·y .~~{~~1~:·~t l~y f'-.,.-\ H.. £~I~ ~-}i\ tJ·J:.f :{ ~~ .J)~ •1H~ :$ ~/ <.~~~./~{}:~·.:}~rt.
                                               t}.~~;;:;o.· i~}\l i:~Yf




                                                                                            :'J..;:.h:-:~·1 !\·~-..:".< lit~~ .P (:.
                                                                                             ~J:.~~ ~~ ~·-ll~{)'f~·: ~· R~~'

                                                                                       \:\.' \:\>'~>-::": ~;, ;\:~·} {~-~~?)9:1~~Ji~ 3
                                                                                           TtS.~ ~~6--J?:t~•-qf.:~·~6
                                                                                           I~-.~~~ t~{~{~..-:)? ~),.9~t~6




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REIFF, DANIELCase
                DOB2:23-cv-10513-LJM-KGA
                     :             (35 yo M) AceECF   No. 46-3, Name:PHQ2
                                                 No. 138861Doc  PageID.2002
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                                                                                             REIFF, DAMEL DOB:                  34 yo M) Ace No. 13886




                            W,m~1 Ml 480934153
                            Ph: 5-85-S?!:l-96-i,'\;3 Fax:~-%-576-$806




REIFF, DANIEL DOB :                    {35 yo M) Ace No. 138861Doc Name:PHQ2 (2015 Edition) 2023-1-3 12 :43:35
                                                                  Page 17 of 56                                                           016
                                    11/ 2/ 20 23 2 : 52 PM   FROM : Fa>< Sal<>m M<>dical PC        TO : 12483573337        PAGE : 019 OF 057
REIFF, DANIELCase
                DOB 2:23-cv-10513-LJM-KGA
                      :            (35 yo M) AceECF   No. 46-3,
                                                 No. 13886      PageID.2003
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                                                                                                  12 :43:35
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                                                                                                           REIFF, DAMEL DOB:                           (34 yo M) Ace No. 13886




     Sourc~: Adapteo frommateria~ pre~ed lit: Spitier RL. Kroenke KWiams JB, et al. (10 November 1989). 'Valoation and ulty o1aseif-report veisicn of PRIME-MD:thePHO prunary
       care stud-!', JAMA. 282 (18):1737-44. d~:10.1CWiama28218.1737 and Kroenke K. Spitzer RL WiliamsJB,The Parent Health Ouestionrar&-2: Vaklity rJi aTwv-lterr: Depressro
                                                                   Screener.Medical Care 2003, (41) 1284-1294




REIFF, DANIEL DOB :                                (35 yo M) Ace No. 138861Doc Name:PHQ2 (2015 Editio n) 2023- 1-3 12:43 : 35
                                                                         Page 18 of 56                                                                                017
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                                                                                                           REIFF, DAMEL DOB:                            :34 yo M) Ace No. 13886




                                          W,m~1 Ml 480934153
                                          Ph: 5-85-S?!:l-96-i,'\;3 Fax:~-%-576-$806




    Interpretation
    The AUDIT.Cis scored0:1 ascale of 0-12 (scoresof Orefect no alcohol use}.
    • !nmen, ascore of 4ormore isconsidered positive.
    • In worrier\ ascore of 3or more is consideredpositive.

     Source:Adapted frc,mmaterials prepaied by: Bush K. Kihlavan DR, McCooallMB, fim SD, Brad~y KA.The AUDIT ~ct\OI consuml)1loo questhns (AUDIT-CJ: An e~ectwe brlef screenilg
                                                              test for problemdri1kr,g. Arch Intern Moo 1008:158{ 16): 178~-1 795.




REIFF, DANIEL DOB :                                  {35 yo M) Ace No. 138861Doc Name:Audit-C 2023-1-3 12:42: 57
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                                                                   ~~~~~}~~~~~ 1-:._)~ ~~t~t~~~t~·t~~-~~t$~ ~
                                                                  1. 3 month f/u         ' '
        'l'1tki.ug                                                 2 . Discuss incrensing dosage of ondnnsetron
        • SF-~Oqnel 2.5 MG Tablet I tablet at                     :~- Seroquel, and hydt-oxyzi.o refill
        bedtime Orally Once a day
        • .Methadone HCI 10 MG Tablet as
        directed Orally Once a day, Notes to
         Pharmacist: pt takes 165 mg                              C,0nstitutional:
        • hydrO>.'Yzine H CI 10 ,tG Tablet 1                            Denies : Dizziness.
         tablet Orally Once a day                                       Denies : Fever.
        • Mirtazapine 15 MG Tublet 1 lablet a t
        b.,dtim,i Or111ly Ont./'. 1, tlay                               Denies: SOB.
        • Se11na.-Doc11sat~ Sodium 8 .6•50 M{}                          Denies: ch('st pain.
        Tablet 2 ti.lblet in tht: evening ll$ needi:d                   De nies: vomiting.
        Orally One€' a day                                              Denies: Abdominal Pain.
        • Ondansctron HCI 4 MG Tabfd 1 tablet
        Orally Once a day                                               Denies : Frequent Urination.
        • Lisinopril 20 MG Tablet 1 tablet Orally                       Denies : Ankle or Leg Swelling.
        twice a day                                                     Denies : cough.
        • cloNIDine HCI 0.1 MG Tablet 1 tablet                          Denies: diarrhea.
        Oraflv twice a dav . Notes to Pharmadst:
         d c cot'<'g         •                                          Denies: constipation.
        • Furost:mide 20 MG Tablet 1 lllhlt':1                          Denies: fove1·.
        Orallv Once a dav
        • Ergocalcifet'Ol 50000 UNIT Capsule l                    \ ~$t~ i 5H~~~;
        1'.a))s1lle Otally ONCF./ WR                              HR: 65 /min, BP: 137/83 111111 Hg, Wt: 189 lbs, BMI : 1:? . -i ,: Index, Ht-cm:
        Not-Taking
        • Amoxicillin Sn; MG Tablet 1 tablet                      177.8 cm, Oxygen sat: 95 %, Ht: 5'10", \Vt-kg: 85.73 kg.
        Orally Twice a day
        • Gaba pentin 400 MG Capsule 1 capsu le
        Orally Once a day                                         General Examination:
        :Medication List rnviewecl a nd reconciled                   GENERALAPP'EAR>\.NCE: in no acnte distress, well developed, well
        with tbe patit't, t
                                                                  nourished,
                                                                     HEAD: normocephalic, atraumatic.
         ~\~~ l~·t ~1~':-t~ ~$.:~i<.i ii~t~~ftf y                    EYES; pupils e<1u.al, r<Jund, reactive to light and accommodation.
             Hniertensfon .                                          EARS: normal.
             Anxiety.
             Depression.                                                ORAL CAVITY: mucosa moist.
             Bipolat· disorder.                                      THROAT: cleru·.
             Legally blinf.                                          NECK/ THYROID: neck supple, full range of motion, no c·,ervical
             Kidney problems.                                     lymphadenopathy.
         ~~l~ ~-~§t~t~~ ~ }1§~~~{~~--~;{                             SKIN: no suspicious lesions, warm and dry.
             ocu.kn: rmnoval 4 -2-2021                               HEART: no nrnrmurs, r<igular rate and rhythm, S1, S2 no1mal.
             reconstructi ve surgery (skull) 6 / 2021                LUNGS: clear to auscultation bilateralJv.
                                                                     ABDOMEN: n.ormal, bowel sounds present, soft, noutender,
         f~$~~'S~§·~f ~~~Stt~r-,•                                 nondistended.
         Father: alive, heart disease and anxiety,                   EXTREMITIES: no clubbing, cyanosis, or edema .
         diagnosed with Hypertension




REIFF, DANIEL DOB:                                  (35 yo M) Ace No. 13886
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                REIF F, DANIEL DOB:                                      (35 yo M) Ace No. 13886 DOS: 08/23/2022

         Mother: alive, dia~oscd with                              NEUROLOGIC: non focal, motor strength normal upper and lower
         Hype11ension                                        e:1rtremities, sensory exam intact.
         2 sister(s) - hea lthy. 2 son(s) - healtl,y.




         Tobarc.o Use,                                      1. Medication refill - Z76.o (Primary)
         Tobiieeo Use/S1noking                              2. BMI 27.0-27.9,adult- Z68.27
          Are yo u a t·urrent smoker                        3. Anxiety ·· F41.9
           How oftt:n do yoll smo'ke cigul'ettes?           4. Elevated liver c11zymes - R74.8
         cw,yday
           How many cigarettes a day do you                 5. Hepatitis C antibody test positive - R76.8
         smoke? 6 -10                                       6. Alcohol dependence with unspecified alcohol-·induced disorder ·· F10 .29
                                                            7. Polysubstance (excluding opioids) dependence - F19.20
         N.K.DA.
                                                            1 . BMI 27.0-27.9,adult
                                                            Refill SEROquel Tablet, 25 MG, 1 tablet at bedtime, Orally, Once a day, 30
         ~)~~~~ tlt~$i!~~ }~~-~~~~~~~~··~$                  days, 30, Rcfill.s 2
         N'o Hospitalizatiou H istory.                      Refill Ondnnsetl'on HCLTablet, 4 MG, 1 tablet, Orally, Once a <lay, 30 days,
         ~*~ ~t1~~~~- s::$· $::½J'~~~~~s~-s
                                                            :iO Tablet, Re.fills 2
         All Other Systems:                                 Refill hydrmfYzine HCl Tablet, 10 MG, 1 tablet, Orally, Once a day, ~10 days,
             Review or Systems (ROS) All                    30, Refills 2
         others negative except those
         mentioned in HPI.                                  2. Others
                                                            Notes: Patient is here for follow-up he claims he is had to quit
                                                            alcohol drinking for the past 20 days and he has been following
                                                            up witb G I and be was recently stal'ted on some medication for
                                                            acid n ;tlux. Patient also nee ds n ;fillon bis m edication he is
                                                            stating he wants to use Zofrau more than once a day explained to
                                                            him because he has a risk of QT prolongation and side effect 1
                                                            cannot give it to him more than once a day spec.iallywith the rest
                                                            of his medication he also needs a refill on his Se1:oquel and I did
                                                            do EKG when his a QT wa.s within no1'lua) limits and J did orde1·
                                                            him blood work including his BMP and magnesium level that he
                                                            needs to get it done and l encoua·aged Jtian to follow- up with a
                                                            psyd1i.ntrist. Patient was given prescription for blood work and l
                                                            \\'i ll con1mlt \\'ith Mm ext ensh'ely regarding the r isk of o pioid
                                                            dependence and use that be has been using the methadone .
                                                            Patient is very high l'isk for complication and and other problem
                                                            because of his polysubstance abuse
                                                            Prognosis is guarded for this patient
                                                            Patient was couns.eled extensively against alcohol use and patient was
                                                            counseled e:xtE<nsively regarding akoho) cessation information were given
                                                            for AA program and patient was <:m<:oUJ'aged to follow-up with psych for help
                                                            and co,rnseling. Patient ul!derstands very well the risk of }1et· cout.in11e to
                                                            drink a k oboJ on ber health.
                                                            Patient's blood pressures are well controlled. Recommend continue with
                                                            same me<lication(s).
                                                            Counseled patient on commitment to dietary restriction, weight
                                                            management, and increasing activity level.
                                                            Patirnt was counseled on incr€asing their exercise. Discussed modilrate
                                                            exer cise including walking. Discussed the importance of diet and weight
                                                            management on their physic.a~ mental. and emotional he,llth.
                                                            Patient is at high risk of stroke, hea.l't attack, and sudden cardiac death.
                                                            Patient is aware.
                                                            all patient previous labs and diagnostic imaging were reviewed by me in
                                                            details.




REIFF, DANIEL DOB:                                (35 yo M) Ace No. 13886
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                        11/ 2/ 20 23 2 : 52 PM   F ROM : Fa>< Sal<>m M<>di c al PC       TO : 1 2483573337                    PAGE : 023 OF 057
            Case
REIFF, DANIEL DOB: 2:23-cv-10513-LJM-KGA
                                  (35 yo M) Ace ECF  No. 46-3, PageID.2007
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             REIF F, DANI EL DOB:                                  (35 yo M) Ace No . 13886 DOS: 08/23/2022

                                                    Patient was counsel ed extensively regarding opioid nse, it.,; side effects, and
                                                    risk and benefits, and addiction potent ial. Patient understood. Patient was
                                                    also instructed that my office will be checking monthly MAPs report for his
                                                    pain medications use and patient understands that they should not get their
                                                    pain medications from different physician as they signed the pain
                                                    agreement.
                                                    Patient fo noucom pliant with medical management and follow .. up patient
                                                    undf•rstand lhe consequences when she does not follow medical advice is
                                                    include medic11t i.o n ond doctors follow-up

                                                    Clinical Notes: Time spent with patient on couns~ling, educat ion and care,
                                                    including assessment, discussio n and treatment, revie\ting all recent labs
                                                    and rad iolog_v a nd medical records personally, and coordinating care with
                                                    staff was 50 mills.



                                                    G8427 DOC MEDS VERIFIED W / PT OR RE
                                                    G8752 MOST RECENT SYSTOLIC BP < 140MM HG
                                                    G8754 MOST RECENT DIASTOLIC BP < 90MM HG
                                                    93000 -ELECTROCARDIOGRAM, COMPLETE
                                                    ~~~§~~)~~· ~J ~~
                                                    4 Months




                                                                                          .........:;



                                                    1~:~s.:~. t tr~r~d,~l~H3: ~:~r~si.:~d t~y F.:\1~/\}f ~~,.:)J J{l\-~ ~ }}t: r~ .. ~}~~ -~-~/ ~}~~f ;.\i )~:} ~~ t
                                                   {~~~·~}·s:~ :P M r-IYf




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                                                                                                   ~.._~~ ~~ fI,J~r'.-''\:~~·· ~ d ..
                                                                                                               9t~~t{;: t} .:'\
                                                                                                           ~'if .:.~&.<~~~ ~~::r ~f.t ~
                                                                                            ).,) ) ,·n'-~·;f:·~~;
                                                                                                  T~::1; ~~ f~·-~}',?"i•~v~1fn}f~
                                                                                                 I\ ·~."-: ~s~f.1..,t:;•?"g ~.~~~J,\{~




REIFF, DANIEL DOB:                   (35 yo M) Ace No. 13886
                                                   Page 22 of 56                                                                                                   021
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            Case
REIFF, DANIEL DOB:2:23-cv-10513-LJM-KGA
                                 (35 yo M) Ace ECF  No. 46-3, PageID.2008
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                 REIFF, DANIEL DOB:                                           ( 35 yo M) Ace No. 13886 DOS: eS /26/2022




                                                                ~~~~~}~~~~~ 1-:._) ~ ~~t~t~~~t~·t~~·~~t$~ ~
                                                               1. Tedh infectio~'
         'l'1tki.ug
         • SF-~ Oq nel 2.5 MG Tablet I tab let at
         bedtime Orally Once a day                              General Examination:
         •   .Methadone HCI 10 MG Tablet as
         directed Orally Once a day, Notes to                      Inspection, patient looks comfortable, speaks in full sentences
         Pharmacist: pt takes 165 mg                               No tachypnea
         • hydrO>.'Yzine HCl 10 , tG Tablet as                       No Rash
         ditect~<l Orillly                                           Mood and Behavior appropriate
         • Mirtazapine 15 MG Tublet 1 lablet a t
         b.,dtim,i Or111ly Ont./'. 1, tlay                           No signs of distress
         • Se11na.-Doc11sat~ Sodium 8.6•50 M{}                       No wheezing hE:ard
         Tablet 2 ti.lblet in tht: eveni ng ll$ needi:d              no Audible congestion in voice
         Oral ly One€' a day                                         No coughing on· the phone
         • d oNIDlnc HCl o.1 MG Tablet1 tablet                       mildely swollen gum.
         Orally bid , Notes to Pharmacist: de coreg
         • Ergocalciferol 50000 UNIT C-apsule 1
         tapsule Orally ONCE/WK
         • FurQSemide zo M.G Tub let 1 tablet                  1. Tooth infection - Ko 4.7
         Orally Once a day                                      2 . .Mouth pain - K~p9
         • Ammddllin 875 MG Tablet 1 tllhlet
         Oral tv 'l\vice a dav
         • Oi1dansctl\1 n fl.Cl 4 MG Tablet t tabbt
         Oral ly Once a day                                    1. Tooth infection
         • Lisinc,pt U 2<) MG Tablet 1 hlbld Orally            RefillAmoxicilli.n Tablet, 875 MG, 1 t ablet, Orally, Twice a day, 14 days, 28
         twice a day                                            Tablet, Refills o
         Not-Taking
         • Gaba pentin 400 MG Capsule 1 capsule
         Orally Once a day                                      2. Others
                                                               Notes : Patient is here fo1· teeth infec.tion he had asked for
                                                               ttutibiotic prescdption because he has been having recurrent
                                                               tooth infection and gnm infection 11nd he can not make it to see b.is
                                                               dentist till anotl1e1· 1uonth he tl'ied his best he had this issue
                                                               before and I had p1·escdbed an antibiotic and helped him a lot 1
                                                               did discuss ,+ith him aud his mom the plan and he is agreeable to
                                                               the plan
                                                               Clinical Notes: Patient today was informed that this is a tele\'isit that we are
                                                               implementing secondary to the emergency situation with COVID-19 and
                                                               restriction for physical face-to-face visit to decrease exposure for both
                                                               pa tient ,md staff safrty.
                                                               Patient agreed and verbalized understimding and gave verbal consent for
                                                               t.o<laY's visit.
                                                               Televisit was consulted using doximity HIPPA complaint communica tion.
                                                               A telehealth visit was conducted over a synd 1l'Onous audio video
                                                               communication with the patient.             •
                                                               Time spent with patient was 20 mins including ch int review, orders, and




REIFF, DANIEL DO B:                                (35 yo M) Ace No. 13886
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            Case
REIFF, DANIEL DOB: 2:23-cv-10513-LJM-KGA
                                  (35 yo M) Ace ECF  No. 46-3, PageID.2009
                                                No. 13886                                                                                      Filed 09/13/24 Page 26 of 51
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             REIF F, DANI EL DOB:                                       (35 yo M) Ace No . 13886 DOS: 05/26/2022

                                                documentati.o n.
                                                Patient was instructed if symptoms worsen or getting any SOB or chest
                                                pains, should go to the ED immediately.


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                                                -f~t~ :·~) r:- ~~~   n-~~:•:Jrr




                                                                                                             V\J;n"l t ::i:~ ~:if 4g<~{;:).4·~tt~
                                                                                                                 'I 'i:~t· l~:~6-·f}:~.-~ --~~t:·0).fj
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REIFF, DANIEL DOB:                 (35 yo M) Ace No. 13886
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            Case
REIFF, DANIEL DOB:2:23-cv-10513-LJM-KGA
                                 (35 yo M) Ace ECF  No. 46-3, PageID.2010
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                REIFF, DANIEL DOB:                                        (35 yo M) Ace No. 13886 DOS: {15/02/2022




                                                            ~~~~~}~~~~~ 1-:._)~ ~~t~t~~~t~·t~~·~~t$~ ~
                                                            1. Fill OUL medical ll~:eds form.
        'l'1tki.ug
        • SF-~Oq nel 2.5 MG Tablet I tab let at             t~~~~t.~-:.~r~· ~f ~~r&~!.~~t~t ~~~~~s.~l~:~
         bedtime Orally Once a day                          Constitutional:
        • .Methadone HCI 10 MG Tablet as
        directed Orally Once a day, Notes to                    33 year old male presents with c/o Anxiety.
        Pharmacist: pt takes 165 mg                              c/o Fatigue.
        • hydrO>.'Yzine HCl 10 , tG Tablet as                    Denies : headache.
        ditect~<l Orillly                                        Denies : Body Pain.
        • Mirtazapine 15 MG Tublet 1 lablet a t
        b.,dtim,i Or111ly Ont./'. 1, tlay                       Denies : Dizziness.
        • Senna.-Docusat~ Sodium 8.6•50 M{}                      Denies : Fevel'.
        Tablet 2 ti.lblet in tht: evening ll$ needi:d
        Oral ly Once a day
        • Lisinopril :io MG Tablet t tablet Orally          General Examination:
        twice a day
        • cloNIDine HCl 0 .1 MG Tablet 1 tablet                Inspection, patient looks comfortable, speaks in full sentences
        Orally bid , 'l:oles to Pharmacist: de coreg           No tachy pnea
        • Ergocalciferol 50000 UNITC;ipsule 1                  No Rash
        capsule Orally ONCF./WK                                Mood and Bebavior approp1fote
        •   Furosemide 20 MG Tablc:t 1 tablet
        OrallyOnr.e a (by                                      No signs of di~tress
        •   Atnoxic:.illin 87,'., MG Tablet 1 lab Id           No wheezing heard
        Oral ly Twice a day                                    no Audible c.ongestion in voice
        •   Otl(l.al\Setro11 HCI 4 .MG TabM 1 ttiblet          No coughing on the phone.
        Orallv Once a day
         Not-Taking         •
        • Gabapentin 400 MG Capsule 1 capsule
        Orally Once a day                                   t. Need for assistance with personal care - Z74.1 (Primary)
                                                            2. Accelerated esseutial hypertension - ho
                                                            ;'.J. Anxiety - F41.9
                                                            4. Depression, u nspecified dilpressioo type - i:'32.A
                                                            5. Elevated liver enzymes - R74.8
                                                            6 . Hepatitis C antibody te.st positive - R76,8
                                                            7. Alcohol dependence with unspecified alcohol-induced disc;rder - l-'10.29

                                                            1. Others
                                                           Notes: Patient presented for the medical need for as because of his
                                                           contiuuous care and follow-up with multiple consnJtaut and
                                                           11sychfat1·ist and psychotherapist and the need with alcohol
                                                           depeudence au<l severe anxiety and depression antl ele vate<l live1:
                                                           enzymes someone needs to take llim to the apJ>Ointment and be
                                                           with him to help him with all the instruction and drh1ng to
                                                           accompany hbn to the appointments also patient needs care and
                                                           help with b.is daily ADLs refilled all the medical need for with th.e




REIFF, DANIEL DOB:                                (35 yo M) Ace No. 13886
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            Case
REIFF, DANIEL DOB:2:23-cv-10513-LJM-KGA
                                 (35 yo M) Ace ECF  No. 46-3, PageID.2011
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             REIF F, DANIEL DOB:                                          (35 yo M) Ace No. 13886 DOS: 05/02/2022

                                               help of the motlier as the motbe1· c-annot be at home aud available
                                               for the patient at all times for all this need and he will need a
                                               caregh'el' that she will need to help him with his ADLs and
                                               medical appointments and we did fill the fom1 and will fax it to
                                               the mother
                                               Clinical Notes: Patient todav was informed that this is a tclH isit that we are
                                               implementing secondary to.the emerge.ncy situation with COVJL).-19 and
                                               restriction for physical face -to-face visit to decrease exposure for both
                                               patient and staff safety.
                                               Patient agreed and verbalized understanding and gave verbal consent for
                                               today's visit.
                                               Televisit was consulted using doximity HIPPA complaint communication.
                                               A telehealth visit was conducted over a svnchronous audio video
                                               communication with the patient.              •
                                               Time spent with patient was 20 mins including cliart review, orders, and
                                               docume.ntation.
                                               l'atitnt was instl'ucted if symptoms worsen or getting any SOB or chest
                                               pains, should go to the ED immediately.




                                               ••   ...........................,,,... ,. .................,. ...... :•



                                                [.J~:~'-:fr·~~t~i~-~~:a:y !~ S~~~~{~d 1~y J)1".:.,~~}\ 11 S i¾. IJ~~1· :: ~j .]}.. HSl -~ ~/ {_:::.;./ !?£~~-\:-~ ~:i{
                                               ~}:~ ~s~~ ?ii ]~
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                                                                                                                    i".8-~ , , l{~ :a.>'n·;.;· !{~·~..

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REIFF, DANIEL DOB:                (35 yo M) Ace No. 13886
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            Case
REIFF, DANIEL DOB:2:23-cv-10513-LJM-KGA
                                (35 yo M) Ace ECF  No. 46-3, PageID.2012
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                REIFF, DANIEL DOB:                                          (35 yo M) Ace No. 13886 DOS: e 4/20/2022




                                                              ~~~~~}~~~~~ 1-:._)~ ~~t~t~~~t~·t~~·~~t$~ ~
                                                              1. 4 wt:eks f/u       ' '
        'l'1tki.ug                                             2 . Ondansetrone refill
        • SF-~Oqnel 2.5 MG Tablet I tablet at                 :~- Amoxicillin for swollen gum
        bedtime Orally Once a day
        • .Methadone HCI 10 MG Tablet as
        directed Orally Once a day, Notes to
         Pharmacist: pt takes 165 mg                           C,0nstitutional:
        • hydrO>.'Yzine HCl 10 ,tG Tablet as                      Denies : Dizziness.
        ditect~<l Orillly                                         Denies : Fever.
        • Mirtazapine 15 MG Tublet 1 lablet a t
        b.,dtim,i Or111ly Ont./'. 1, tlay                         Denies: SOB.
        • Se11na.-Doc11sat~ Sodium 8 .6•50 M{}                    Denies: ch('st pain.
        Tablet 2 ti.lblet in tht: evening ll$ needi:d             De nies: vomiting.
        Orally One€' a day                                        Denies: Abdominal Pain.
        • Ondansctron HCI 4 MG Tabfd 1 tablet
        Orally Once a day                                         Denies : Frequent Urination.
        • Lisinopril 20 MG Tablet 1 tablet Orally                 Denies : Ankle or Leg Swelling.
        twice a day                                               Denies : cough.
        • cloNIDine HCI 0.1 MG Tablet 1 tablet                    Denies: diarrhea.
        Orally bid, Notes 10 Pharma cist de coreg
        • Ergoc.'lldferol 50000 UNTTCapim!t: l                    Denies: constipation.
        t.apsule Orally ONCE/ \NK                                 Denies: fove1·.
        • Furnsemid e zo MG Tabl,~t 1 lahlct
        Orally Once a day                                      \ ~$t~ i 5H~~~;
         N,'>t-Taking                                         HR: 60 /min, BP: 123/B;l mm Hg, 'I.Vt: 202 lbs, BMl: ~.K9~ Index, Ht-cm:
        •  Gabapentin 40,J MG C'.lpsule 1 capsule
        Orally Once a day                                     177.8 cm, Oxygen sat: 98 %, Ht: 5'10", Wt-kg: 91.63 kg.
        \1edicatioo List reriewed a nd reconciled
        with the patient
                                                               General Examination:
                                                                  GENERALAPPEAR>\.NCE: in no acnte distress, well developed, well
            Hy pertcnsi◊n .
                                                               nourished.
            Aoxid}'.                                              HEAD: normocephalic, atraumatic.
            Depression.                                           EYES; pupils e<1u.al, r<Jund, reactive to light and accommodation.
            Bipolar disot,for.                                    EARS: normal.
            Legallybli nf.
            Kidney problems.                                      ORAL CAVITY: mucosa moist.
                                                                  THROAT: cleru·.
                                                                  NECK/ THYROID: neck supple, full range of motion, no c·.ervical
            ocul;\r r~moval 4-2-2o n                           lymphadenopathy.
            teco1,stm,:tive surgery (skull) 6/2021                SKIN: no suspicious lesions, warm and dry.
        ~Y x~ ~--~~i~~" ~i~~~i'l.~~~ ~-
                                                                  HEART: no murmurs, r<igular rate and rhythm, S1, S2 no1mal.
        .F&ther: alive, he.artdfarMe and an~iety,                 LUNGS; clear to auscultation bilateralJv .
        diagnose<l with HyT,ertension                             ABDOMEN: n.ormal, bowel sounds present, soft, noutender,
        Mother: alh·e, diagnosed with                          nondistended.
         Hypertension                                             EXTREMITIES: no clubbing, cyanosis, or edema .
         2 sister(s) - healthy. 2 son(s) - heal!hy.




REIFF, DANIEL DOB:                              (35 yo M) Ace No. 13886
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                                       1 1 00())'>, ? : 52 PM   FROM :   Fa>< Sal<>m M<>dical PC   TO : 12483573337   PAGE :   029 OF 057
            Case
REIFF, DANIEL DOB:2:23-cv-10513-LJM-KGA
                                  35 yo M) Ace ECF  No. 46-3, PageID.2013
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                 REIF F, DANIEL DOB:                                             (35 yo M) Ace No. 13886 DOS: 04/20/2022

                                                                         NEUROLOGIC: non focal, motor strength normal upper and lower
         Toh;irm me·                                               e:1rtremities, sensory exam intact.
         Tobacco Use/Smoking
           A1-e yo u a current smoker
           How often do you smoke cigarettes?                      1. Elevated liver enzymes - R74.8 (Primary)
         everyday
           How mat1y cigarettes a day do you                       2. Anxiety - F41.9
         smoke? 6-1:0                                              3. Depression, unspecified depressiou type ·· F:12.A
                                                                   4. Akobol dependence with unspeeitied alcohol-induced disorde r - F10 .29
                                                                   5. Medication rcfiJI .. Z76.o
         N.K.D.A.                                                  6. Lower extremitv edema··· R6o.o
                                                                   7. B'MI 28.0-28.9,adult • Z68 .28
                                                                   8. Tooth infection - Ko4.7
         t~h-...~~~~<~:t:t~~~ ~~~,·H.'.::~~~'§~~S'~~
         No Hospitalization History.
                                                                   1. Elevated liver enz"mes
         ~ ~Vh'::>~~ t..~f ~~~f.~-~~~~~l)t}
         All Othcy Svste1n.s:                                      Refill Ondansctron Hci Tablet, 4 MG, 1 tablet, Orally, Once a day, ~W days,
             Review ot Syst~ms (ROS) All                           30, Refills 2
        others negative except those
        mentioned in HPI.                                          2. Tootl1 infection
                                                                   Start Amoxicillin Tablet , 875 MG, 1 tablet, Orally, Twice a day, 7 days, 14
                                                                   Tablet, Refills o

                                                                   3. Others
                                                                   Notes:
                                                                   Va1ient .is hen~with his mother he is feeling better he did fo.lhw -up with
                                                                   gai,trot:n1.erology and they did some more bl.ood wol'k for him yestenfoy and
                                                                   he is scheduled to have EDD soon. Patient can need t o continue to dril1k but
                                                                   he is trying to quit. He denied any suicidal ideation. Also he has been having
                                                                   some teeth problems and gum infection with the swelling of his left side of
                                                                   his gums and he cannot make it to see the dentist and he asked for
                                                                   antibiotics. Patient denied any chest pain or shot1ness of breath he
                                                                   continues to have some lower ex1remity swelling and I discussed with him
                                                                   regimling cuLting down all disot1l€:rs and lld Gatorade and to cut down l1is of
                                                                   fluid only to water

                                                                   Patient was counseled exten:,ively against 11lcohol use and patient was
                                                                   counseled extensively regarding alcohol cessation information were given
                                                                   fur A.A. program and patient was encouraged to follow-up with psych for help
                                                                   and counseling. Patient understands very well the risk of her continue to
                                                                   drink a lcohol on her health.
                                                                   patient was counseled 011 dealing with stress. Patient denies suicidal ideation
                                                                   and if anxiety start interfering with daily life ttetivities, will need to r efer to
                                                                   psych 01· s tart meds.
                                                                   C{rnnseled patieo ton commitment to dietary restriction, weight
                                                                   management, and increasing activity level.
                                                                   Patient was counseled on increasing their exercise. Discussed moderate
                                                                   exercise including walking. Discussed the importance of diet and weight
                                                                   management on their physical, mental, and emotional health.
                                                                   all patient previous labs and rliagnostic imaging were reviewed by me in
                                                                   detilils.
                                                                   Patie.n t is noncompliant with medk.-1. rrmnagementand follow,.up p~tti.ent
                                                                   understand the consequences when she does not follow medical advice is
                                                                   include medication and doctors follow-up.
                                                                   Clinical Notes: Time spent with patient on counseling, education and care,
                                                                   1ncluding assessment, discussion and treatment, reviewing all recent labs




REIFF, DANIEL DOB:                                     (35 yo M) Ace No. 13886
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REIFF, DANIEL DOB:2:23-cv-10513-LJM-KGA
                                 (35 yo M) Ace ECF  No. 46-3, PageID.2014
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             REIFF, DANIEL DOB:                                (35 yo M) Ace No. 13886 DOS: 04/20/2022

                                               and radiology and medical reco.rds personally, and coordinating care with
                                               staff was 50 mins.



                                               96160 PT- FOCUSED HLTH RIS KASSMT
                                               G8427 DOC .MEDS VERIFIED W/PT OR RE
                                               G8752 MOST RECENT SYSTOLICJ3P < 140MM HG
                                               G8754 MOST RECENT DIASTOLIC BP < 90MM HG

                                               3-4 Months




                                                I-Ji:' {>t~·{ft~~,~~tn:~\ ~J.gf~{~·d §~r 1~/~J.Z1:\Jt ~..\JJ::. n=i :~ ~l.J .}. ,~t~ 11/ (}~/ 1'.:::>.~~~J- ir~:
                                               \}~~ :i>{)   1::i,~ fJ11·




                                                                                            ~.$.k~~~i :\:h ':~i.i~-~-::~ .P C
                                                                                            t>:g111 II~J.::~·~. .r, R.lt


                                                                                       \V ;) ~-i•.f~.~~:- ,;\-·r~ :~.i~(~9::i ~~..~ (~ ~~
                                                                                            T ~J ~ ~;~&-,t~?~~ . ~)6:·h":{
                                                                                           Y$.X~ t~~6..·~~7B·"9~~t) f$




REIFF, DANIEL DOB:                 35 yo M) Ace No. 13886
                                                Page 29 of 56                                                                                                 028
                                      11/ 2/ 202 3 2 : !:2 ? f'I   FROl·I : Fax Sa l ,am M~d ical PC:          '1'0 : 12 48 3E73337   PAGE : 031 OF OS?
             Case
Rf.lFf, DANif:L DOB:2:23-cv-10513-LJM-KGA
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                 REIFF~ DANIEL DOB:                                                    (35 yo M) Ace No. 13886 DOS: 03/16/202 2




                                                                      ~~~*~~~~~~~ 1;:,.) t ~~~~~~~~~t~:n{i$~ ~
                                                                      1-. 1 m.<mlh J'/u
        'l'nkiug                                                      :L Not fasting
        •   SEROqueJ :!.') MG Tablel] ta.h i,;[ at                    J, Bil:1 tim,\.l l•~gs &
                                                                                             'welliog
        bedtirnl':' Ora.Ur O11ce a day
        • Methadone HCI 10 MG Ta l,let HS                             4. Re.fill ondansetron, vitamin d, lisinopril, clonidine
        directed Orally O11ce a day . Notes to
        Pbannacist: pt takes 16::;ll)g                                t~~~-:.:t~'!-ry :&:=•f i~r~-s:$~f.!f1 ~ ~§~ ~~~~·~rw
        • hydrO>..'Yzine Hd 10 \tG Tablet _as                         Constitutional:
        direct<'(l Or,,lly                                                The patient is a 33-year-old male presenting toda_v for a 1-month follow-
        • Mlrtazapine 30 MG Tablet 1 tablet at
        b<edtim,i Orall, On,'.i•. 11 1fav                             up. He was last seen ou 02/16/2022. Hi} ha$ a m•~dical history of
        •   tll'ji,(;~aldferol 500/lO DNJ'1'Caps\1k t                 hyperteusj(m, anxiety, depr,~'3'sioll, H nd bipolnr disonkr. He has .history <1f
        Cilf.lSUle Orally ONCl:'./WK                                  hep1.Hi.:ti.-; C. The patient rtports having lower extr~.mity edeml-i. Ht a<lmi.ls
        • 1Nnopril 20 MG T11blet 1 tablet Or~lly                      drinking alcohol. He. states h e is trying to quit d ri nking. He is requesting for
        twice a rlay
        • cloNIDine HCL0.1 MG Tablet 1 tablet                         medic.ati011 refills.
        O:rally bid , "lotes to Pharmacist: de coreg                       33 year old male presen ts with c/o Ankle or Leg Swelling.
        •   Sen111t• Dc,cusate Socliom 8 .6-50 MG                           Deni.es: Dizziness.
        Ta.b let 2 lltblet in the eve.n ing a:, needed                      Denies: Fever.
        On11Jv Once a dll.\'
        • <)r,d,u1sdro 11 'uC'J 4 MG Tnblet 'l t ablet                     De11ks :SOB.
        Orolty 01)t.t> ~. (fa}'                                            Denies : c.hest pain.
        Not-'faking                                                        JJtnies: W>mitiJ1g.
        • Gabapen tin q.oo MG Capsule 1 capsule                            Denies : Abdomina I Pain.
        Or1,1~, (Jlic:t: :o d,w
        },leditation List reviewed and rec:onci!ed                         l)enies: Fl·equent Grinati.on.
        with the patient                                                   Denies : cough.
                                                                           Denies : dfan,hea.
                                                                           Denies : constipation.
            Hypertension.                                                   Den.ies : fever.
            Auxil'ly,
            Ot-pr.:ssJ.Jn.                                            v~~~~~ t~~~~~ $
            mi,o!iu- l'li..1rder.                                     Temp: 97.0 F, HR: 74 / mio , BP: :;,.-.~'."'/9I mm Hg, Wt: 209 lbs, H:Ml: :.>.•:,,.~~~
            Legally blinf.                                            Index, Ht -cm: 177.8 em, Oxygen sat: 97 %, flt: 5'10", Wt-kg: 94.8 kg.
            Kidn,, y P!Db le111s.

        ~~~$ff~$f·.~~--s~ *~~:~~~~~--J
            otul«.r rrmoval 4 ·2-2021                                 General Exnminatioo:
            l'econst.l'ucl ive surgery (.skull) 6/20 21                   GENERAL APPEARANCE: in no acute distress, well deYeloped, well
                                                                   .j nomished.
        ~~~1 ~-~~i~•y i1S.'$.::t~::t 'f                                  Hf.AV: uor111ocepb:ilic, atraunia.til:.
        F~ tl,er: ,,.live, ti,}al'tdiNcase rrnd ?.iiv:foty,               EYES: pupils equa l, round, reactive to light all cl accommoda tion.
        cUa~n0,,cd with Hyper let\si;m
        .Motlit~t: uliw,, illA,~11e,i\.<:d wlth                          EARS : normal.
        Hypr-rtc•nsion                                                   ORAL CAVJTY: mucosa moist.
        2 sister(s-) • b.ealthy. 2 soa (s) • healthy.                    THROAT: clear.
                                                                         'NECK/THYROID: neck supple, full range of motion, no cervical
                                                                   , lymphadenopathy.




REIFF, DANIEL DOB:                                    (35 yo M) Ace No. 13886
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                                              11 l ) l ) f D ~   2 : 52 PM   FROM : Fa>< Sa l <>m M<>dical PC   TO : 1 24 83573337   PAGE : 032 OF 057
            Case
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                                  (35 yo M) Ace ECF  No. 46-3, PageID.2016
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                   REIF F, DANI EL DOB:                                                      (35 yo M) Ace No . 13886 DOS: 03/16/2022

         Torrnrm Use:                                                               SKIN: no suspicious lesio.n!>, warm an.d dry.
         Tobacco Use/Smoking                                                        HEART: no murmurs, reb'lllar rate and rhythm, S1, S2 normal.
            Are yo u a current smoker
            How often do you sm oke cigarettes?                                     LUNGS: clear to auscultation bHaterally.
         everyday                                                                   ABDOMEN: normal, bowel sounds present, soft, nontender,
           How many cigarettes a <lay do you                                    nondistended.
         smoke? 6-10                                                                EXTREMITIES: no clubbing, cyanosis, or edema.
                                                                                    NEUROLOGlC; nonfocal. motor strength normal upper and lower
         N.K.D.A.                                                               extremities, sensory exam intact.

         }'§s.~.:~~~ ji~'S it~'.~--si~~~~~~j ~$~ ;..~ -~~ ~--
         ~:.}~~~1 ~~ $~~ t.~-c· ~~ ~~$~.?:~~~J ~~ ~..~..~                       1.   Elevated liver enzymes - R74.8 (Primary)
         N'o Hospitalization History.                                           2 . Anxiety - F41.9
                                                                                ~~- Elevated alkaline phosphatase level - R74.8
         §l~~~~i~\..~~ -:.~f S~t~:t~:::~i,~
                                          -s.                                  4. BMI 29.0 -29.9,adult - Z68,29
         All Other Svften1,:                                                   5. Lower extremity edema - R6o.o
            Review ofSystetns (ROS)          1-1-p0iut  n,e                    6. Medication refill - Z76.o
         ROS 1rnre all negative else t han what
         m,;ntloned it, tb.e HPI..                                             7. Alcohol dependence with unspecified alcohoHnduccd dL~order - F10.29
                                                                               8. Alcohol abuse counseling and surveillance ·· Z71.41
                                                                                g. Hepatitis C antibody test positive .. R76.8
                                                                                10. Essential h_ype1tension - ho



                                                                                1. Ele , 1ated liver enzvmes
                                                                                Referral To:Ghiath Taycb Gastroenterology
                                                                                          Re'Json:

                                                                               2. AuAiety
                                                                               Refill Ondansetron HCl Tablet, 4 MG, 1 tablet, Orally, Once a day, 30 days,
                                                                               30 , Refills o
                                                                               Refill Lisinopril Tablet, 20 MG, 1 tablet, Orally, twice a day, 90 days, 180,
                                                                               Refills o
                                                                               Refill cloNIDine HCI Tablet, 0 .1 MG, 1 tablet, Orally, bid, 90 days, 180,
                                                                               Refills o, Notes to Pharmacist: ,k coa-eg
                                                                               RefillEl'gocalcfferol Capsule, 50000 UNIT, 1 capsule, Ornlly, ONCE/\VK, 90
                                                                               <lllys, 15 CAPSULES, Refil.ls o
                                                                               Start Furosemide Tablet, 20 MG, 1 tablet, Orally, Once a day, 90 days, 90
                                                                               Tablet, Refills o

                                                                               3 . He patitis C nntibody test positive
                                                                               Refenal To:Ghiath Tayeb GastTOenterology
                                                                                       Reason:

                                                                                4. 0the1·s
                                                                                Notes:
                                                                                -Medications reconciled.
                                                                                -Lab work from 02/2022 was reviewed during the visit, which showed
                                                                                elevated alkaline phosphatase, elevated ALT and AST, elevated iro n,
                                                                                elevated TIBC.
                                                                                --I will prescribe water pill for swelling.
                                                                                -1 will refer him to GI for further management of his liver function .
                                                                                -for elevated liver enzymes, ad\·ised to see a liver specfolist as soon as
                                                                                possible.
                                                                                -Patient was counseled extensively against alcohol use. Discussed that he is
                                                                                damaging his liver. The patient was encouraged to follow-up with psych for




REIFF, DANIEL DOB:                                               (35 yo M) Ace No. 13886
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                                 (35 yo M) Ace ECF  No. 46-3, PageID.2017
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             REIF F, DANIEL DOB:                              (35 yo M) Ace No. 13886 DOS: 03/16/2022

                                               help and counseling. Patient understands very well the risk of her continue
                                               to drin k alcohol on her health.
                                               -He has lost a coupie of pounds since last visit.
                                               -His blood pres.sure today appears to be mildly elevated, continue curl'ent
                                               medication.
                                               ··Completed blood work today.
                                               -Provided medication refi!Js.

                                               Clinical Notes:
                                               Time spent with patient on counseling, education and care, including
                                               assessment, discussion and treatment, reviewing all recent labs and
                                               radiology and medical records personally, and coordinating care with staff
                                               was 50 mins.
                                               Scribed for Dr. Famh Salem by G. Bindhiya, Scribe.
                                               I, Dr. Farah Salem, pers~mally performed the servkes described in this
                                               docume.ntation, as sc.ril:w.d in my presenc.e, and it is both accurate and
                                               complete.



                                                G8427 DOC MEDS VERIFIED W/PT OR RE




                                               {t§~~i~~1,g i~i{·::~H} ~;~j{Hx~il ~)_1/   r .~R.AJI b.i~t.f :~;~ ;' ~t.J) .. ~)is 'i.~/i.)":<"/ 20-:,..~·~~ ~~t
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                                               .::>ii~~) (~ ~~
                                                             'l EJ)'T




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REIFF, DANIEL DOB:                (35 yo M) Ace No. 13886
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                                             11/2/2023 2 : !;2 ? r-1   FROl-1 : Fax Sal " m M~dical PC:    '1'0: 12483E73337   PAGE: 034 OF OS?
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                    REIFF~ DANIEL DOB:                                                     (35 yo M) Ace No. 13886 DOS: 02/16/2022




                                                                         ~~~*~~~~~~~ 1;-.> t ~~.}~~~~)~~t~:n{i$~ ~
                                                                         1-. Fl~Cl swolkn
         'l'nkiug                                                         2. New Rx Propimolol 10 mg Q,l gi1rr. n by the psychiatdst wants to check if
         • SEROqueJ :!,5 MG Tablel ] tah l,;[ ot                          <.~\fl St.:11.'l tt\.l<ing
         bedtimt> Or8.U, O11ce a day
         • Methadone HCI 10 MG Ta l,let ns
         J irecteJ Omlly O11ce a day . Notes to
                                                                          ~~ ~s~ti.{~·y ~lf ~f~-~~l~~~ ~~~3:~~~.~~
         Pbannacist pt takes 16::;1ug                                     Constitutional:
         • hvdrOXYzine H.d 10 \tG Table t _as                                   Deni.es: Dizziness.
         directd Orally                                                         Denies: Fever.
         • Ml!'t'i zapine 30 MG T!lblct 1 t.blctat
         b<edtim,\ or,,11,· O nt>.l'. 11 tfav                                   Denies; SOB.
         • fa·goc!.>Jdfil'Ol 5otmo t;NJ't'Gapsuk t                              Denies : chest pain.
          ,a psuli' Oraltj' ONCl:i/WK                                           De nies : vomiting.
          • C.or<:g:3-125 MG Tabkt; t~bletwitb                                  Denies: Abdominal Pain.
          food Orally Twice a day
         • Lisinopril :io MG Tablet 1 tablet Ornll_y                            Denies ; Frequent Urination.
          twice a day                                                           Denies ; Ankle or Leg Swelling.
         1'ot•Tnklng                                                            Deni.es : cough.          •          •
         • GdJ;_,,pentio +oo ~-lG Ca psulf i caps11le                        Denies : diarrhea.
          Orallv Once a dllY
          'Med ication List i·evicwe,1 11rid t'!':l'.cmcik tl                 Dell.ks : copstipation.
          \\itb the patler,t                                                 Denies : fover.
                                                                             Tht\ p,Hi(iot is a ;B-yfar~old m1de preirnotingtt:,day fiJr a foll(lw-up, He
                                                                       t was last seen on 01 / 12/2022. He has a medk.al history of hypertension,
          s-~~~~t ~~~~i~~~~ ~~~:::{~~~·1-s
              Hn,.-rteusion.                                             anxiety, depression, and bipofar disorder. Tlrn patif:nt monitors his blood
              Anxiety.                                                   pt·essure regularly at home. He is on lisinopril for high blood pressure. The-
              Depression.                                                patient mentions that he was started on Prop.ranolol in the recent past by his
              Bipolar dfan rdcr.                                         psychiatrist. The patient reports having swelling in all his extremities. He
              vgsllybl-inf.
              !Zidtiey pmblem~.                                          mentlons thnt he has hcen gaining weight since starting the methadone, He
                                                                         mmplnins nf c.onstipation. Colncfl doe!i not s~tim to h elp with his
          ~i~ ~-~ ~$.~~~~ ~ ~~~i~~~ff                                    constipation. lfo ad.m.its drinking ,;k;ohol.
              ocufar r11mowtl 4-2-2 li21
              ncoostl'ltt tivc: s urgc1y (skull) 6-/2 <.l'.lJ             V~t~~ ~S~~~-;
                                                                         Temp: 97.0 F, HR: 74 / min, BP: 1f.>J.,/ u,;- mm Hg, Wt; 211 lbs, B.MI : :~O.Z?
          Fa ther: alive, he.art<lise;ise and anxiety,
                                                                         Index, Ht-cm : 177.8 cm; Oxygen sat: 100 %, Ht: 5,10', Wt-kg: 95.71 kg.
          Jiagnosed w1t.b Hypertension
                                                                          !~:~~ ~~~$~~ ~~i ~i}~i
          Motlier: ~live, dia1;nosed with
          Hypr.,tt'usion                                               .j General Exami110tion:
          2 slq~t(,;) • healtby. 2 ;,or,(~)· he~l"lhy.                       GENERAL.APPEAJZANCE: 1n n.o ,1c11te dit>tress, W<ill developed, well
                                                                          nourished.
          ~ ~~-Rl ~;,~ ~ l§"S:,r~~-s,~
                                     ..-~.
          Tob11cco lfae:
                                                                             HEAD: uormoceµhalic , a"trauma:tic,
          Tobac'-'O Use/Stnoking                                             EYES: popilii eq ual, rnund, reactive to light an<1 accommodation.
            Are you a c.ur·mll! sm oke/'                                     EARS: normal.
             Ho,~ often do you smoke cigiu'l!ttes?                           ORAL CA"\-'11Y: mucosa moist.
          every day                                                          THROAT: clear.




REIFF, DANIEL DOB:                                         ;35 yo M) Ace No. 13886
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                                 (35 yo M) Ace ECF  No. 46-3, PageID.2019
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                 REIF F, DANIEL DOB:                                         (35 yo M) Ace No. 13886 DOS: 02/16/2022

           How many dgarettes a day do you                         NECK/THYROID: ne<'.k sopple, fnll range of motion, no tervkal
         smoke? 6..10                                           lymphadenopathy.
                                                                   SKIN: no suspicious lesions, warm and dry.
                                                                    HEART: no murmurs, regular rate and rhythm, S1, S2 normal.
                                                                    LUNGS: clear to auscultation bilaterally.
         ~~°'"$~~1~~~~ ~$.~~ t~~~~~l~-§,~j~~t·                     ABDOMEN: normal, bowel sounds present, soft, non tender,
         ~~s~~~~ ,~~t~~~ ~1= i·,;:,.~)\~.,~d~~ r~               non distended.
         No Hospitalization History.                               EXTREMITIES: no clubbing, cyanosis, or edema.
                                                                     .NEUROLOGIC: non focal, rnotoi- strength normal upper and Jowc.r
         ~~~·k~~'S' t'f ~:~rt~t~~r~~~                           e:.\·tremities, sensory e..xam intact.
        AH OtherSv~:
             Review or Systems (ROS) The 14-poi11t
         ROS were all negative else than what
                                                                 1. Anasarca - R60.1 (Primary)
         mentioned in the HPL.
                                                                 2. Accelerated essential hypertension - ho
                                                                3. Anxiety ·· F41.9
                                                                4. Vitamin D di-lficieocy • E55.9
                                                                5. Elevated livet' enzymes .. R74.8
                                                                6. Elevated alkaline phosphatase level ·· R74.8
                                                                7. Constipation, unspecified constipation type • K.59.00
                                                                8. BMI 30.0-30.9,adult - Z68.30
                                                                9. Abdominal distention - R14.o
                                                                10. Lower extremity edema - R6o.o
                                                                11. Alcohol dependence with um;pecified alcohol-induced disorder - F10.29
                                                                12. Akohol abuse counseling and surveillance • Z·71.41


                                                                1.Auas,U'ca
                                                                Stop Coreg Tablet, 3.125 MG, 1 tablet with food, Orally, Twice a day
                                                                Start cloNIDine HCl Tablet, 0.1 MG, 1 tablet, Orally, bid, 30 day(s), 60
                                                                Tablet, Refills 1, Notes to Pharmacist: de coreg
                                                                Start Senna-Docusate Sodium Tablet, 8.6-50 MG, 2 tablet in the evening as
                                                                needed, Orally, Once a day, 30 day(s), 60 Tablet, Refills 1
                                                                Sturt O11d:msett•011 HCI Tttbl<::t, 4 MG1 1 tablet, Orally, Once a d1.1y 1 30 <lay(s},
                                                                tlO , Refills o

                                                                 2. BM:J 30.0-30.9,adult
                                                                    L-\B: Hemoglobin A1c

                                                                3. Others
                                                                Notes:
                                                                -:Medications reconciled.
                                                                -Lub work from 11/2021 was reviewed during the visit, whkh s howed
                                                                elevated alkaline pl10sphatnse, elevated ALT and AST, low vitamin D,
                                                                elevated TIBG.
                                                                -His blood pressure today appears to be mildly elevated at 165/117 nm,Hg.
                                                                -We will switch him from Coreg to Cata pres.
                                                                -Discussed that he can take the Propranolol.
                                                                -Patient was counseled extensively against alcohol use and patient and
                                                                patient was enconmged to follow -up with psych for help and counseling.
                                                                Patient understands verv well the risk of her continue to drin k alcohol on
                                                                he.r health.                   -
                                                                -He has gained 11bout 1.9 pounds since liis last clinic visit.
                                                                -We will do lab work. Discussed that depending on the lab work we will start
                                                                him on a water pill. Discussed that if his blood work is worse, he needs to go
                                                                to the hospital.




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             REIFF, DANIEL DOB:                                       (35 yo M) Ace No. 13886 DOS: 02/16/2022

                                                   -Discussed that he is a l high risk of liver cirrhosis.
                                                   -For constipation, we ~ill start him on a new medication.
                                                   -Provided work note stating t hat he is completely unable to work.
                                                   -We will do lab work in duding hemoglobinA1c.
                                                   -Completed blood work today.
                                                   ··Provided medication refills.

                                                   Clinical Notes:
                                                   Time spent with ps1tient on counseling, education and care, i.ncluding
                                                   assessment, discussion and treatment, reviewing all recent labs and
                                                   radiology and medical records personally, and coordinating care with staff
                                                   was 50 nuns.
                                                   Scribed fot• Dr. Farah Salem by G. Bindhiya, Scribe.
                                                   I, Dr. Farah Salem, personally performed the services described in this
                                                   documentation. as scribed ill my presence, and it is both accurate and
                                                   <.:omplett:.




                                                   :~6415 VE:..\JIPUNCT, ROUTINE*
                                                   G8427 DOC MEDS VERIFIED W/PT OR RE
                                                   }~s.~~t,'i-~~ · ~'~~'$
                                                   4 Weeks




                                                   {t§~~i~~1,gi~i{·::~H} ~;~j{Hx~il ~) _1 /   r .~R.AJI b.i~t.f: ~;~ ;' ~t.J) .. ~)is 'i.~/i.)":<"/20-:,..~·~~ ~~t
                                                   .::>ii~~)(~   :r ~~'l EJ)'T




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                 REIFF, DANIEL DOB:                                         (35 yo M) Ace No. 13886 DOS: el/12/2022




                                                              ~~~~~}~~~~~ 1-:._)~ ~~t~t~~~t~·t~~·~~t$~ ~
                                                              1. BP f'e('.heck      ,,
        'l'1tki.ug
        • SF-~Oq nel 2.5 MG Tablet I tab let at                t~~~~t.~-:.~r~· ~f ~~r&~!.~~t~t ~~~~~s.~l~:~
         bedtime Orally Once a day                             Constitutional:
        • Llsin opril 20 MG Tablet 1 tablet Ora lly
        Once a day                                                  Denies : Dizziness.
        • M<:>thadone HCI 10 MG Tablet as                          Denies : Fever.
        directed Orally Once a day, Notes to                        Denies : SOB.
        Phannacist; pt takes 180 mg                                 Denies : chest pain.
        • Gabapentin 4ou ~m Capsule 1 capsule
        Orally Ont.c>" ,fay                                        Denies : vomiting.
        • hydrOXY,ine HCl rn MG Tablet as                           Denies : Abdominal Pnin.
        dil·ected Orally                                            De nies: Frequent Urination.
        • Mirfozapine 30 MG Tablet 1 tablet at                      Denies: Ankle or Leg Swelli ng.
        bedtime Ornfly Once a day
         Medication List reviewed and reconciled                    Denies : cough.
         with the patient                                           Denies : diarrhea.
                                                                    Denies : constipation.
         t1-.~.~"St ~~i~~ii~~,*~ ~iS;~f~'..~~·~                    The patient is a 3~1-year-old male presenting today for a follow-up. He
             Hn~rtenslon.                                      was last seen on 11/09/2021. He has a medical histo1y of hypertension,
             Auxkty,                                           anxiety, depl'ession, and bipolal' disor<leJ'. The patient monitors his blood
            D~pteS$JOr1.                                       pressuni regulin-ly ,it home, He is on lisinopril for high blood pressure, He
            Bipol<lr diStJrckr.                                complains of having chest pain yesterday. He denies shortness of breath.
            Legally blinf.
            Kidfiey problt:111$.                               The patient admits drinking alcohol regularly.

         ~*~,~ h;!~i~ t-s§· ~~r·;$'§~~$~--s~
                                                              Temp: 97.1 F, HR: w~,; /min, BP: ., {')_~,_/9,i mm Hg, Wt: 192 lbs, BMI: .:.:FJ<,;i,
        All Other Svstems:                                    Index, Ht -cm: 177.8 cm, Oxygen sat : 98 %, Wt-kg; 87.09 kg.
             Review o(Systcms (ROS) Th.e 14-poinl
         ROS w,,re all n,1gative e.Jse than wh~t
         mcntlonc,d ln th e HPL.
                                                               Genera I Examination:
                                                                   GENERALi\..PPEARANCE; in 110 aC'ute distress, well developed, well
                                                              nourished.
                                                                 HEAD: normocephalic:, atraumatic.
                                                                 EYES: pupils equal, round, reactive to light and accommodation .
                                                                 EARS: normal.
                                                                 ORAL CAVITY: mucosa moist.
                                                                 THROAT: clear.
                                                                 NECKffHYROID: neck supple, full range of motion, no cervical
                                                              lymphadenopathy.
                                                                 SKIN: no suspicious Jesi011s, warm an.d dry.
                                                                 HEART: no murmurs, regular rate and rh}1hm, S1, S2 normal.
                                                                 LUNGS: cle.arto auscultation bilaterally.
                                                                 ABDO.MEN: normal, boweJ sounds present, soft, nontender,




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REIFF, DANIEL DOB:               '.35 yo M) Ace No. 13886
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              REIFF, DANIEL DOB:                                 (35 yo M) Ace No. 13886 DOS: 01/12/2022

                                                    non.distended.
                                                        EXTREMITIES: no clubbing, cyanosis, or edema.
                                                        NEUROLOGIC: nonfocal, motor strength normal upper and lower
                                                    extremities, sensory exam intact.

                                                    1. Tachycardia ·· Roo.o
                                                    2 . Atcdemted essential hypertension - ho
                                                    ;;. Anxiety· F41.9
                                                    4. Elevated alkaline phosphatase level - R74.8
                                                    5. Elevated liver enzymes - R74.8
                                                    6. Vitamin D deficiency - E55.9
                                                    7. Alcohol dependence with unspecified alcohol-induced disorder · F10.29
                                                    8. Alcohol abuse counseling and surveillance - Z71.41
                                                    9. Chest pain, unspecified type - Ro7.9


                                                    1, Acceler~ted essential hypertension
                                                    Refill Lisinopril Tablet, 20 MG, 1 tablet, Orally, twice a day, 90 days, 180
                                                    Tablet, Refills o
                                                        IMAGING: Echocardiogl.1Ull
                                                    2. Elevated live1· enzvmes
                                                       IMAGING: Ul!J:fAsoniid; Abdomen
                                                    Referral To;SEINA FARSHADSEF,'\T Gastroenterology
                                                           Re.ason:

                                                    3. Vitamin D cleficiency
                                                    Start fagocalciferol Capsule, 50000 UNIT, 1 capsule, Orally, ONCE/WK, 90
                                                    <lays, 15 CAPSlJLF.5, Refills o
                                                    Start Coreg Tablet, :3-125 MG, 1 tllbletwith food, Orally, Twice a dl\y, 30
                                                    day(s), 60, Refills 2

                                                    4. Chest pain, unspecified type
                                                       JMAGlNG: Echqcar<liogram
                                                    5. Othe1-s
                                                    Notes:
                                                    -Medications reconciled.
                                                    -Lab work from 11/2021 was reviewed dudng the visit, which showed
                                                    elevated alkaline phosphatase, elevated ALT and AST, low vitamin D,
                                                    elevated TIBC.
                                                    -Discussed that his l1igh blood pi·essure rnay he rdated to anxiety.
                                                    -For high blood pressure, prescribed Coreg, to take twice a day.
                                                    -Increase<l lisinopril to twice a day from once a day.
                                                    -His blood pressure today appears to be mildly ele\'ated at 165/94 nunHg.
                                                    -I did EKG in the clinic today and reviewed the finding.
                                                    -Discussed that his elevated liver enzymes may be related to alcohol abuse
                                                    and hepatitis C.
                                                    -We will on:Jerultrasound o f the liver ro rule out 11ny abnormalities.
                                                    -\.Ve will refer berto liver spethllist for further evaluation ,
                                                    -Patient was counseled extensively against alcohol use and patient was
                                                    c.ounseled extensively regarding alcohol cessation information were given
                                                    for AA program and patient was encouraged to follow-up with psych for help




REIFF, DANIEL DOB:                    '.35 yo M) Ace No. 13886
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             REIFF, DANIEL DOB:                                  (35 yo M) Ace No. 13886 DOS: 01/12/2022

                                               and counseling ..Patient 1mden,tands very well the risk of her co.ntinue to
                                               drink alcohol on her health.
                                               -Advised to talk to his psychiatry regarding alcohol abuse. He was instructed
                                               to quit alcohol as soon as possible.

                                               Clinical Notes:
                                               Time spent with patient 0 11 counseling, education a nd care, iududiug
                                               assessment, discussion and treatmeu t, reviewing all recent labs and
                                               rnd iology and medical. records pet'sonally, and coordinating care witti staff
                                               was 50 mlns.
                                               Scribed for Dr. Farah Salem by G. Bindhiya, Scribe.
                                               I, Dr. Farah Salem, personally performed the services described in this
                                               documentation, as scriood in my presenc.e, and it is both accurate a nd
                                               complete.



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                                               i~~~~ §~~)~~ \~ ~~
                                               ~1 Mont.hs,print GI refe1Tal,echocardiogram,ultrasound of abdomen




                                                         .........................................        1



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                                               x)~~ ~:}s:~ J~·~:l :r irr




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REIFF, DANIEL DOB:                (35 yo M) Ace No. 13886
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                                  35 yo M) Ace ECF  No. 46-3, PageID.2024
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                  REIFF, DANIEL DOB:                                              (35 yo M) Ace No. 13886 DOS: 11/09/2021




                                                                    ~~~~~}~~~~~ 1-:._)~ ~~t~t~~~t~·t~~·~~t$~ ~
                                                                    1. Establish Cart:: •
        'l'1tki.ug
        • Methadone HCllo MGTabletas                                t~~~~t.~-:.~r~· ~f ~~r&~!.~~t~t ~~~~~ s.~l~:~
        directed Orally Once a day . Not e.s to                     Constitutional:
         Phaimacist: pt takes 180 mg
        • GalJapentin 400 MG Capsule 1 capsule
                                                                         Denies : Dizziness.
        Orally Once a day                                               Denies : Fever.
        • hydrO>.'Yzine H Cl 10 ,tG Tablet as                            Denies : SOB.
        ditect~<l Orillly                                                Denies : chest pain.
        • Mirtazapine 30 MG Tablet 1 tablet at
        b.,dtim,i Or111ly Ont./'. 1, tlay                               Denies : vomiting.
        • Llsinopril 10 MG Tablet 1 tllblet Orally                       Denies: Abdominal Pnin.
        twice a day                                                      De nies: Frequent Urination.
         Medication List J'e,'iewed and reconciled                       Denies: Ankle or Leg Swelli ng.
        with the patient
                                                                         Denies : cough.
                                                                         Denies : diarrhea.
                                                                         Denies: constipation.
            Hypertension.
            Anxiety.
                                                                        The patient is a 3~1-year-old male presenting today to establish prima1y
            Dt'pression.                                            cine. His last \'isit with his PCP was months ag(). He has a medical history of
            Bipolai· di~11xkr.                                      hypertension, anxiety, depression, l.lnd hipolur disorder. He is following np
            Lt ga,ll}r hlinf.                                       with Ms psychi1:1trist l~gul11rk,: for depression ,tn<l bipofor disNder. Ht:
            Kidney problems,                                        sustained a fall years ago aod injur~d his back. He c.omplains of having pain
         ~~ ~~ rts ~ ~ ~ ~~ ~~$: ~ ,~~- , .
                                                                    since then. He is taking gabapentin for pain with minimal be1rnfit.
             ocular ,·emoval 4 -2-20 2 1
             rec.oostructive surgery (skulJ) 6 /20 21
                                                                    Temp: 97.1 F, HR: 78 /min, BP: 1 ~':<◊/-8~; mm Hg, Wt: 192 lbs, BMI: $c'.:? .J_,J;
         ~'t'~t~{ ~~¥ }$~,:S~t~~v~•                                 Index, Ht-cm: 177.8 cm, Oxygen sat: 99 %, Ht: 5'10", Wt-kg: 87.09 kg.
        Fathct•: a live, hc:~11: dise,,se.and anxiety,
        diagoi)s.-.d with H,yperlcnsi<m
        l.fotl1~r: 111,ve, diagnosed wit h                          Genera I Examination:
         Ifype1tension
         2 ~isttJr(s} • h<salthy. 2 son! S) • heij(·lfty.              GENERALi\..PPEARANCE; in 110 aC'ute distress, well developed, well
                                                                    nourished.
        ~~~1:t~~fa~~ §-.~~~s.·~~~s·:1                                  HEAD: normocephalic:, atraumatic.
        Tobnw,use·                                                     EYES: pupils equal, round, reactive to light and accommodation .
         Tobacco Use/Smoking                                           EARS: normal.
          ;\re yoo a current smoJ;e r
            How often do yo11 smoke c.iga rettes?                      ORAL CAVITY: mucosa moist.
         ~uet~J day                                                    THROAT: clear.
          How ma t1ycigw,tb?fl ,1day do you                            NECKffHYROID: neck supple, full range of motion, no cervical
        ~mol:e? 6-1:0                                               lymphadenopathy.
        DrugMAlcohol:
        Do you smoke marijuan a?: Admits,                              SKIN: no suspicious Jesi011s, warm an.d dry.
        successfully recovering. Clean since                           HEART: no murmurs, regular rate and rh}1hm, S1, S2 normal.
        beginruog 20 21.                                               LUNGS: cle.arto auscultation bilaterally.
        Do you dri nk alcohol?: Moderate .                             ABDOMEN: normal, boweJ sounds present, soft, nontender,




REIFF, DANIEL DOB:                                     35 yo M) Ace No. 13886
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                                 (35 yo M) Ace ECF  No. 46-3, PageID.2025
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                  REIF F, DANIEL DOB:                                          (35 yo M) Ace No. 13886 DOS: 11/09/2021

                                                                  non.distended.
         N.K.D.A.                                                     EXTREMITIES: no clubbing, cyanosis, or edema.
                                                                      NEUROLOGIC: nonfocal, motor strength normal upper and lower
         }i"-~~~}~ §~:.~ i~l~;.\~ §.~~~~f~~~ ,it~~~               extremities, sensory exam intact.
         t::.-t::.,%~ ~~~~~~ti~: , ~-~"S~~~s~:~t{ ~·-~1
         N'o Hospitalizatioll History.
                                                                  1. Encounter fot general adult medical examination with abnormal fin dings ··
         ~,t~-s::~~ ~{t' ~~f .~ .~t.:~t~1~~t~~                    Zoo.01 (Primary)
         Ml Other s,z~:                                           2. Encounter to establish care •· Z76.89
            Re,iew of.Systems (ROS) The 14-point
         ROS were all negative else than what                     '.i• Accelerated essential hypertension·· ho
         mct1tioned in th e HPL.                                  4. BMI 27.0-27.9,adult • Z68.27
                                                                  5. Anxiety - F41.9
                                                                  6. Depression, unspecified depL·ession type - F3:u\
                                                                  7. Screening for STD (sexually transmitted disease) - Z11.3
                                                                  8. Low back pain, unspecified back pain laterality, unspecified chronidty,
                                                                   unspecifi!ld whetlrnr sciatica present - M54.50

                                                                  :J. Encounter to establish care
                                                                  Refill Lisinopril Tablet, 20 MG, 1 tablet, Orally, Once a day, 90 days, 90,
                                                                   Refills 1
                                                                   2. Low hack pain, uns pecified back pain laterality, unspecified
                                                                  chronkity, unspecified whether sciatica p1·esent
                                                                    IM.AGlNG: :X i•ay : Thorncolumba1·
                                                                   Refenal To;]kaumont Center for Pain Medi.cine Grosse Poil1te Beaiunonl
                                                                   MI Pain Medicine
                                                                            Reason:back pain

                                                                  3. Others
                                                                  Notes:
                                                                  -Medications reconciled.
                                                                  -His blood press u1'e today appears to bf: mildly elevated at 156/89 mruHg.
                                                                  -lncri:nsed lisinop1il to :w mg once a day for Mgh blood pressure.
                                                                  ·-We will order x-ray of the thoracolumbar spine to rule out any
                                                                  abnormalities.
                                                                  -We will refer her to pain surgeon for m11nagement of her pain.

                                                                  Clinical Notes:
                                                                  Time spent with patient on counseling, education and care, including
                                                                  assessment, di.sr.ussion and tl'eatrnen L, reviewing 111l recent labs and
                                                                  radiology and medical records persmrnlly, ttnd coordinating care with staff
                                                                  was 50 mins.
                                                                  Scribed for Dr. Fa rah Sakm by G. Bindhiya, Scribe.
                                                                  I, Dr. Farah Salem, perso11ally performed the services described in this
                                                                  documentation, as scribed in my presence, and it is both ace.mate a nd
                                                                  complete,



                                                                   G8427 DOC MEDS VERIFIED W /PT OR RE

                                                                   4 Months,print x-ray of back.pain management referral




REIFF, DANIEL DOB:                                        (35 yo M) Ace No. 13886
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              REIF F, DANI EL DOB:                                   (35 yo M) Ace No . 13886 DOS: 11/09/2021




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REIFF, DANIEL DOB:                    (35 yo M) Ace No. 13886
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                    :             (35 yo M) AceECF   No. 46-3, Name:Tobacco
                                                No. 13886IDoc  PageID.2027Control
                                                                            Filed2021-11-9
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                                                                                            Page 44 of 51
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                                                                                      REIFF, DAMEL DOB:                :33 yo M) Ace No. 13886



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                           W,trra, M: 4809:W ~,3




REIFF, DANIEL DOB :                 (35 yo M) Ace No. 138861Doc Name: Tobacco Cont rol 2021-11-9 14 :53: 14
                                                  Page 42 of 56                                           041
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REIFF, DANIEL DOB :                :35 yo M) Ace No. 138861Doc Name :Tobacco Control 2021-11-9 14:53:14
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                                                                                     REIFF, DAMEL DOB:                l3 yo M) Ace No. 13886




REIFF, DANIEL DOB                   {35 yo M) Ace No. 138861Doc Name: Tobacco Cont rol 2021-11-9 14 :53: 14
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                    :             (35 yo M) AceECF   No. 46-3, Name:Tobacco
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